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  EXHIBIT “A”
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

KIMBERLY JESSE VOLPE aka KIMBERLY §
LACKEY,                            §
                                   §
     Plaintiff,                    §
                                   §                     Civil Action No. 4:21-cv-00484-P
v.                                 §
                                   §
CENLAR FSB and CITIMORTGAGE, INC., §
                                   §
     Defendants.                   §

                               FIRST AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff Kimberly Jesse Volpe aka Kimberly Lackey (“Plaintiff”), by and through counsel,

for her First Amended Complaint against Defendants Cenlar FSB (“Cenlar”) and CitiMortgage,

Inc. (“CitiMortgage”) (Cenlar and CitiMortgage are collectively referred to as “Defendants”),

states as follows:

                                         I. INTRODUCTION

       1.      Defendants engaged in willful, malicious, deceptive and harassing actions against

Plaintiff in furtherance of their efforts to illegally collect debt from Plaintiff when Defendants were

legally forbidden against making any contact with her or taking any collection actions against her,

after her surrender of the collateral real property during the pendency of Plaintiff’s Chapter 13

bankruptcy case, and after the debt was discharged as to her personal liability. Defendants’ actions

at issue include: 1) Cenlar misreporting the discharged debt to the credit bureaus as an open and

active account with a live debt due and owing; and 2) CitiMortgage impermissibly obtaining and

using her confidential, personal and financial information in her protected credit file and consumer
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report with Equifax. Defendants’ actions were taken in accordance with their policies, procedures,

practices and malicious design to illegally profit by taking advantage of unsophisticated

consumers.

        2.     Specifically, Plaintiff claims Defendants violated: 1) Tex. Fin. Code § 392.001 et

seq., known as the Texas Debt Collection Act (“TDCA”); 2) the common law prohibiting invasion

of privacy; 3) Chapter 41, the Consumer Credit Protection Credit Act, of Title 15 (Commerce and

Trade) of the United States Code, specifically, 15 U.S.C. § 1681, et seq., known as the Fair Credit

Reporting Act (“FCRA”) (against CitiMortgage only); and 4) the Federal Fair Debt Collection

Practices Act (the “FDCPA”) (against Cenlar only). Plaintiff also brings a defamation action and

seeks to recover from Defendants actual, statutory, and punitive damages, and legal fees and

expenses.

                                           II. PARTIES

        3.     Plaintiff is a natural person residing in Tarrant County, Texas and a “consumer,” as

defined by the FCRA, 15 U.S.C. § 1681a(c), and the TDCA, Tex. Fin. Code § 392.001(1), and the

FDCPA, 15 U.S.C. § 1692a(3).

        4.     Defendant Cenlar is a federal savings bank which has made an appearance in this

case.

        5.     Defendant CitiMortgage is a foreign limited liability company which has made an

appearance in this case.

        6.     Defendants are both a “person,” as defined by the FCRA, 15 U.S.C. § 1681a(b) and

a “creditor,” “debt collector,” and/or “third-party debt collector” as defined by the TDCA, Tex.

Fin. Code §§ 392.001(3), (6) and (7). Defendant Cenlar is a “debt collector” as defined by the

FDCPA, 15 U.S.C. § 1692a.



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        7.     The debt Defendants were attempting to collect from Plaintiff was a “consumer

debt,” as defined by the TDCA, Tex. Fin. Code § 392.001(2) and the FDCPA, 15 U.S.C. § 1692a.

        8.     Defendants are “user(s)” of consumer credit and other financial information under

the FCRA and a furnisher of consumer credit information to national consumer reporting agencies

Trans Union, LLC (“TransUnion”), Equifax, Inc. (“Equifax”), and/or Experian Information

Solutions, LLC (“Experian”) (collectively the “CRAs”).

                                 III. JURISDICTION AND VENUE

        9.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334

and 1367, 15 U.S.C. §§ 1681p and 1692.

        10.    Venue is proper this district, because Defendants transact business in this district,

Plaintiff filed her bankruptcy case in this district, and the conduct complained of occurred in this

district.

                                  IV. FACTUAL ALLEGATIONS

A.      The Subject Debt was Included in Plaintiff’s Bankruptcy Case and Discharged as to
        her Personal Liability.

        11.    On November 2, 2017, Plaintiff filed Chapter 13 bankruptcy in case number 17-

44426-mxm13 (the “Bankruptcy Case”) in the United States Bankruptcy Court for the Northern

District of Texas, Fort Worth Division (the “Bankruptcy Court”).

        12.    On “Schedule D: Creditors Who Have Claims Secured by Property” (“Schedule

D”) filed with her bankruptcy petition, Plaintiff listed a claim for an account ending in 9980 (the

“Account”), identifying CitiMortgage as the creditor for the debt, related to a mortgage secured by

real property at 907 Tulane Dr., Arlington, Texas 76012 (the “Property”), which Plaintiff had sold

subject to CitiMortgage’s lien and permanently vacated prior to filing her Bankruptcy Case.

        13.    A true and correct copy of Plaintiff’s Schedule D is attached hereto as Exhibit “A.”

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       14.     When Plaintiff filed bankruptcy, she was in default under the mortgage note.

CitiMortgage was the sole mortgage servicer when the Account went into default at the time of

Plaintiff’s bankruptcy filing. CitiMortgage did not foreclose on the subsequent purchaser at any

time before Plaintiff’s bankruptcy, during Plaintiff’s bankruptcy, or after Plaintiff’s bankruptcy

was discharged.

       1)      CitiMortgage Received Notice of Plaintiff’s Bankruptcy Case and the
               Imposition of the Automatic Stay Prohibiting all Collections Against Plaintiff,
               Made an Appearance and Filed a Proof of Claim.

       15.     On or about November 5, 2017, the Bankruptcy Noticing Center for the Bankruptcy

Court sent CitiMortgage, by first class mail, a copy of the “Notice of Chapter 13 Bankruptcy Case”

(known as a “341 Notice”). The 341 Notice informed all creditors about Plaintiff’s Bankruptcy

Case and the automatic stay imposed by 11 U.S.C. § 362, noting that “[t]he filing of the case

imposed an automatic stay against most collection activities.” Also, the 341 Notice stated, in part,

“Creditors cannot demand repayment from debtors by mail, phone, or otherwise.” Further, it

informed all creditors that they cannot try to collect from the debtors by taking any collection

actions against them or their property, noting that “Creditors who violate the stay can be required

to pay actual and punitive damages and attorney’s fees.”

       16.     A true and correct redacted copy of the 341 Notice is attached hereto as Exhibit

“B.”

       17.     The United States Postal Service did not return the 341 Notice sent to CitiMortgage,

creating a presumption it was received.

       18.     On December 11, 2017, CitiMortgage, as the mortgage servicer, filed Claim No: 5,

a fully secured claim in the amount of $146,842. CitiMortgage asserted that “On or about October

6, 2011, Kimberly Jesse Volpe and Eduardo Hinojoso executed a Note payable to ACOPIA, LLC,



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in the original principal amount of One Hundred Sixty-Nine Thousand Eight Hundred Eleven

Dollars And Zero Cents, ($169,811.00).”

       19.     A true and correct redacted copy of CitiMortgage’s Proof of Claim is attached

hereto as Exhibit “C.”

       20.     On December 13, 2017, CitiMortgage made an appearance in the Bankruptcy Case

and filed a Notice of Appearance through its counsel.

       2)      Plaintiff Amended her Chapter 13 Plan Which Provided for the Surrender of
               the Property.

       21.     On February 28, 2018, Plaintiff filed her Amended Chapter 13 Plan providing for

the surrender of the Property and identifying CitiMortgage as the creditor for the related claim for

which the Property was collateral.

       22.     A true and correct redacted copy of the Plaintiff’s Amended Chapter 13 Plan is

attached hereto as Exhibit “D.”

       23.     On July 2, 2018, Plaintiff’s Amended Chapter 13 Plan was confirmed by the

Bankruptcy Court and on July 9, 2018, the automatic stay, as to the in rem enforcement of the

Deed of Trust securing the Account, was lifted.

       3)      Defendant CitiMortgage Transferred Servicing of the Account to Cenlar.

       24.     After the Plaintiff’s Bankruptcy Plan was confirmed, CitiMortgage hired Cenlar as

its debt collector to sub-service Plaintiff’s Account, despite the fact that the Account was included

in her bankruptcy and Plaintiff had sold the Property subject to the first lien on the Property. As a

debt collector, Cenlar’s sole role was to collect on the Account and all of its activities and actions

related to the Account were done for the purposes of debt collection. On or about March 26, 2019,

CitiMortgage filed a Notice of Address Change in the Bankruptcy Case indicating that Cenlar is

now collecting for CitiMortgage on the Account. CitiMortgage then updated its reporting to


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TransUnion to reflect that the Account had been transferred or sold, that it was included in a

Chapter 13 Bankruptcy and no longer listed a balance on the Account.

       25.     A true and correct redacted copy of relevant portions of Plaintiff’s TransUnion

credit report dated March 22, 2021 showing the update about the Account being transferred or sold

is attached hereto as Exhibit “E.”

       4)      The Debt was Discharged as to Plaintiff’s Personal Liability and the Discharge
               Injunction Went into Effect.

       26.     On December 3, 2020, the Bankruptcy Court issued an order granting Plaintiff a

discharge (“Discharge Order”). The Discharge Order followed Official Form 318, including the

explanatory language contained therein about the effect of the discharge. The Discharge Order

discharged Plaintiff from any personal liability for the debt created by the Account. Included with

the Discharge Order was an explanation of the general injunction prohibiting any attempt to collect

discharged debts, warning all creditors, in conspicuous language, that “CREDITORS CANNOT

COLLECT DISCHARGED DEBTS” and that “Creditors cannot contact the debtors by mail,

phone, or otherwise in any attempt to collect the debt personally. Creditors who violate this order

can be required to pay debtors’ damages and attorney’s fees.”

       27.     On December 5, 2020, the Bankruptcy Noticing Center sent a copy of the Discharge

Order to Defendants Cenlar and CitiMortgage by first-class mail. These mailings, which were not

returned, constituted notice to Defendants of the discharge granted in Plaintiff’s Bankruptcy Case

and the replacement of the automatic stay of 11 U.S.C. § 362 with the discharge injunction imposed

by 11 U.S.C. § 524(a).

       28.     A true and correct redacted copy of the Discharge Order is attached hereto as

Exhibit “F.”



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       29.       Once the Discharge Order was entered, the debt became unsecured as Plaintiff’s

personal liability was extinguished and she was not in title to the Property when the bankruptcy

was filed, as the Property was sold to Maridan 53, LLC prior to the bankruptcy filing.

       30.       At no time during the pendency of Plaintiff’s Bankruptcy Case did Defendants or

any other person or entity object to or dispute the details or completeness of the claim regarding

the Account listed on Schedule D to Plaintiff’s Petition.

       31.       At no time did Plaintiff reaffirm the debt on the Account with any person or entity.

       32.       At no time did the Bankruptcy Court declare the debt on the Account to be non-

dischargeable.

       33.       After Plaintiff’s discharge, Defendants failed to remove the Account from their

active loan servicing systems, failed to place a bankruptcy discharge hold on the Account, and

continued with normal mortgage collection activities such as credit reporting and monthly account

reviews.

B.     During Plaintiff’s Bankruptcy Case and Post Discharge, Defendant CitiMortgage
       Engaged in Prohibited, Harassing and Deceptive Collection Actions Against Plaintiff.

       34.       On at least five occasions after the servicing of the debt on the Account had been

transferred to Cenlar, including at least two occasions post-discharge, Defendant CitiMortgage

impermissibly accessed Plaintiff’s protected Equifax credit file containing her confidential,

personal and financial information and obtained and used her consumer report(s) from Equifax to

further its in personam collection attempts against Plaintiff on the discharged debt.

       35.       In order to obtain and use Plaintiff’s consumer reports, CitiMortgage

misrepresented information to Equifax about the status of the Account, representing to Equifax

that the Account was open, and owing by Plaintiff, and therefore, it had a legally permissible

purpose to conduct account reviews and access Plaintiff’s credit file and obtain her consumer

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report. CitiMortgage’s purported permissible purpose, however, was false because once the

servicing of the Account was transferred to Cenlar and the debt had been discharged, it no longer

had the right to access Plaintiff’s credit reports as the Account no longer existed. Moreover, title

to the Property had transferred to a new owner prior to the bankruptcy, so the debt became

unsecured at the time of discharge. Thus, Plaintiff did not have possession of the Property, did not

have title to Property and could not participate in any loss mitigation, and no longer had an account

with CitiMortgage when CitiMortgage repeatedly accessed Plaintiff’s credit file after it transferred

the Account to Cenlar and after the discharge. Despite the filing of this lawsuit, CitiMortgage

willfully and wantonly continued to access Plaintiff’s credit file.

        36.     Specifically, on April 13, 2020, Defendant CitiMortgage pulled Plaintiff’s Equifax

credit report even though it no longer had a legal purpose for accessing such credit report as it was

no longer servicing the Account according to its own reporting to TransUnion Credit bureau, and

Plaintiff was not in title to the Property.

        37.     On July 17, 2020, Defendant CitiMortgage pulled Plaintiff’s Equifax credit report

even though it no longer had a legal purpose for accessing such credit report as it was no longer

servicing the Account according to its own reporting to TransUnion Credit bureau, and Plaintiff

was not in title to the Property.

        38.     On October 9, 2020, Defendant CitiMortgage pulled Plaintiff’s Equifax credit

report even though it no longer had a legal purpose for accessing such credit report as it was no

longer servicing the Account according to its own reporting to TransUnion Credit bureau, and

Plaintiff was not in title to the Property.

        39.     On January 11, 2021, Defendant CitiMortgage pulled Plaintiff’s Equifax credit

report even though it no longer had a legal purpose for accessing such credit report as the debt had



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been discharged as to Plaintiff’s personal liability and no debtor-creditor relationship existed

between Plaintiff and CitiMortgage, and Plaintiff was not in title to the Property.

       40.      On April 12, 2021, after the filing of this lawsuit, Defendant CitiMortgage pulled

Plaintiff’s Equifax credit report even though it no longer had a legal purpose for accessing such

credit report as the debt had been discharged as to Plaintiff’s personal liability and no debtor-

creditor relationship existed between Plaintiff and CitiMortgage, and Plaintiff was not in title to

the Property.

       41.      True and correct redacted copies of relevant portions of Plaintiff’s Equifax credit

reports dated March 22 and June 24, 2021 showing CitiMortgage’s impermissible account review

inquiries are attached hereto as Exhibits “G” and “H,” respectively.

C.     Post Discharge, Defendant Cenlar Engaged in Prohibited, Harassing and Deceptive
       Collection Actions Against Plaintiff by Misreporting and Misrepresenting the
       Account to the Credit Bureaus.

       42.      After Plaintiff’s personal liability on the Account had been discharged in Plaintiff’s

Bankruptcy Case, CitiMortgage, who is the master servicer on the discharged debt correctly

reported that the Account was discharged in bankruptcy, but its agent and subservicer, Defendant

Cenlar, continues to report the Account as a live debt despite the discharge and this lawsuit. Such

reports included inaccurate, negative, incomplete and misleading information to the CRAs about

the Account to be included in Plaintiff’s credit files and reported on Plaintiff’s credit reports. A

credit report that continues to show a discharged debt as outstanding is unquestionably inaccurate

and misleading, because end users will construe it to mean that Cenlar still has the ability to enforce

the debt personally against Plaintiff, in that Plaintiff did not received a discharge, or that she has

reaffirmed the debt notwithstanding the discharge, or that the debt has been declared non-

dischargeable. Additionally, Cenlar misrepresented that Plaintiff had a live debt and that she is



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obligated to make monthly payments of either $1,734 or $1,926, which is unclear on the tradeline,

thus reducing her debt to income ratio and limiting her ability to obtain new credit. As Cenlar is

a debt collector, all of its actions, including reporting the Account post-discharge to the credit

bureaus are for the purposes of debt collection.

       43.        In December 2020, after Plaintiff’s discharge of the debt, Defendant Cenlar started

reporting to Equifax that the status of Plaintiff’s Account was “Pays_as_Agreed,” that the reported

balance was $141,016 as of 12/2020 and claimed that payments were made in December of 2020

and in January, February and March of 2021, but failed to disclose that the debt was included and

discharged in Plaintiff’s Bankruptcy Case and had a zero balance.

       44.        A true and correct redacted copy of relevant portions of Plaintiff’s Equifax credit

report dated March 22, 2021 showing Cenlar’s reporting is attached hereto as Exhibit “I.”

       45.        In January 2021, Defendant Cenlar started reporting to Experian that the status of

Plaintiff’s Account was “Open/Never late,” that the balance as of March 2021 was $138,104, and

claimed that payments were made on the Account in January, February and March of 2021, but

failed to disclose that the debt was included and discharged in Plaintiff’s Bankruptcy Case and had

a zero balance.

       46.        A true and correct redacted copy of relevant portions of Plaintiff’s Experian credit

report dated March 22, 2021 showing Cenlar’s reporting is attached hereto as Exhibit “J.”

       47.        In January 2021, Defendant Cenlar started reporting to TransUnion that the status

of Plaintiff’s Account was “Current Account,” that the balance as of 03/2021 was $138,104, and

claimed that payments were made on the Account in January, February and March of 2021, but

failed to disclose that that the debt was included and discharged in Plaintiff’s Bankruptcy Case and

had a zero balance.



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       48.     A true and correct redacted copy of relevant portions of Plaintiff’s TransUnion

credit report dated March 22, 2021 showing Cenlar’s reporting is attached hereto as Exhibit “K.”

       49.     On March 31, 2021, Plaintiff filed this lawsuit. Since the lawsuit was filed, Cenlar

has proactively sent misleading information to the CRAs stating that this debt is owed and it has a

right to collect it despite the fact that Cenlar was aware that the Plaintiff does not have title to the

home in question and that Plaintiff’s personal liability has been discharged in bankruptcy.

       50.     On or about May 5, 2021, after this lawsuit was filed and Defendant Cenlar made

an appearance, it ratified its earlier misconduct rather than attempting to mitigate the damages by

correcting the credit reporting, and reported to Equifax that the status of Plaintiff’s Account was

“Pays_as_Agreed,” that the Reported Balance was $136,599 and claimed that the last payment

was made on April 1, 2021, but failed to disclose that the debt was included and discharged in

Plaintiff’s Bankruptcy Case and had a zero balance.

       51.     A true and correct redacted copy of relevant portions of Plaintiff’s Equifax credit

report dated June 24, 2021 showing Cenlar’s reporting is attached hereto as Exhibit “L.”

       52.     On or about May 5, 2021, after this lawsuit was filed and Defendant Cenlar made

an appearance, it ratified its earlier misconduct rather than attempting to mitigate the damages by

correcting the credit reporting, and reported to TransUnion that the status of Plaintiff’s Account

was “Current Account,” that the balance was $136,599, and claimed that the last payment was

made on April 12, 2021, but failed to disclose that that the debt was included and discharged in

Plaintiff’s Bankruptcy Case and had a zero balance.

       53.     A true and correct redacted copy of relevant portions of Plaintiff’s TransUnion

credit report dated June 14, 2021 showing Cenlar’s reporting is attached hereto as Exhibit “M.”




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        54.     Since Cenlar began reporting the Account to the CRAs in December of 2020,

misrepresenting it as a live debt with a monthly mortgage payment due and owing each month,

multiple would-be creditors and current creditors have made inquiries into Plaintiff’s credit files

and have seen and considered Cenlar’s misreporting of the Account. See Exhibits “J,” “K,” “L,”

and “M.”

        55.     As a result of Cenlar’s misrepresentations of the status of the Account on her credit

reports, Plaintiff’s debt to credit ratio was significantly decreased and Plaintiff has had at least two

of her creditors reduce the credit limits on her accounts.

        56.     For example, on April 23, 2021, Comenity Bank sent Plaintiff a letter advising that

after a recent review of her credit file, they reduced the credit limit on Plaintiff’s account with

them to $160.00 “due to a significant decrease in your credit score from your credit bureau.” One

of the issues that may have influenced that decision included “Balances on accts too high compared

to credit limits and loan amounts.”

        57.     A true and correct redacted copy of the April 23, 2021 letter from Comenity Bank

to Plaintiff is attached hereto as Exhibit “N.”

        58.     On June 11, 2021, Synchrony Bank sent Plaintiff a letter advising that after a recent

review of her account, they reduced the credit limit on Plaintiff’s account with them to $250.00

“based in part on a credit scoring system that was used to predict your creditworthiness.” One of

the reasons for this decision included “Balances on Accounts Too High Compared To Credit

Limits And Loan Amounts.”

        59.     A true and correct redacted copy of the June 11, 2021 letter from Synchrony Bank

to Plaintiff is attached hereto as Exhibit “O.”




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                               V. GROUNDS FOR RELIEF – COUNT I

               TEXAS FINANCE CODE – TEXAS DEBT COLLECTION ACT (TDCA)

       60.     Plaintiff repeats, re-alleges, and incorporates by reference the foregoing

paragraphs, as if fully rewritten here.

       61.     Defendants, through all of their post-discharge collection actions at issue, have

violated the Texas Finance Code in numerous ways, including, but not limited to, the following:

               a.      Tex. Fin. Code § 392.301(a)(8), which prohibits Defendants from
                       threatening to take an action prohibited by law. Inasmuch as: 1) the
                       bankruptcy discharge injunction prohibits anyone from attempting
                       to collect debts discharged in bankruptcy in personam; 2) the FCRA
                       prohibits obtaining or using a consumer report without a permissible
                       purpose; 3) the FDCPA prohibits a debt collector from using any
                       false, deceptive, or misleading representation or means in
                       connection with the collection of any debt; and 4) the common law
                       protects Plaintiff’s privacy rights, Defendants’ actions at issue of:
                       1) misreporting the Account as a live debt to the CRAs, which is
                       prohibited by the FCRA requirements of a subscriber reporting
                       accurate credit information to the CRAs; 2) impermissibly obtaining
                       or using Plaintiff’s consumer reports from Equifax post-discharge;
                       and 3) refusing to cease these activities and correct themselves even
                       after this lawsuit was filed ratifying their own conduct and failing to
                       mitigate Plaintiff’s damages were also violations of the TDCA, as
                       they were threats of continued harassing collections and contacts
                       and in personam collection attempts on the discharged debt, which
                       violated the TDCA;

               b.      Tex. Fin. Code § 392.304(a)(8), which prohibits misrepresenting the
                       character, extent, or amount of Plaintiff’s debt on the Account,
                       prohibited by this section of the TDCA, which was misrepresented
                       to Plaintiff, the CRAs and other third parties that the Account, which
                       had been discharged, was collectible from Plaintiff post-discharge
                       by:

                       1)      CitiMortgage’s improper post-servicing and post-discharge
                               credit account reviews to monitor or “analyze” the Account,
                               making it appear as if the Account was still open, due and
                               collectible from Plaintiff and that CitiMortgage had a legally
                               permissible purpose and right to pull Plaintiff’s credit and
                               access and obtain her confidential, personal and financial
                               information in her protected credit file with Equifax, at a


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                              time CitiMortgage knew such information would be reported
                              on Plaintiff’s credit report for her and third parties to see,
                              and even after this lawsuit was filed; and

                       2)     Cenlar’s furnishing inaccurate, incomplete and misleading
                              information regarding the Account to the CRAs for Plaintiff,
                              Defendants and other third parties to view, misrepresenting
                              that the Account was a live debt, that Plaintiff either did not
                              receive a discharge, reaffirmed the debt or that the debt was
                              non-dischargeable, and that Plaintiff has an ongoing
                              obligation to make monthly payments.

                       These were misrepresentations of the character, extent or amount of
                       the subject debt, and by Defendants’ continual refusal to cease these
                       same coercive collection efforts even after this lawsuit demanding
                       that they honor the discharge was filed, Plaintiff became
                       increasingly concerned that something went wrong with the
                       bankruptcy process and that she may still owe the debt, which is in
                       violation of the TDCA;

               c.      Tex. Fin. Code § 392.304(a)(19), which prohibits Defendants’ use
                       of false representations or deceptive means to collect a debt, for the
                       reasons stated in the preceding paragraphs (a-b); Defendants,
                       through their false representations at issue and deception,
                       intentionally tried to coerce or deceive Plaintiff into paying the
                       discharged debt on the Account, knowing the debt on the Account
                       was discharged in Plaintiff’s Bankruptcy Case, rendering the debt
                       legally uncollectible from Plaintiff in personam.

       62.     Under Tex. Fin. Code Ann. § 392.403, Defendants’ actions make them liable to

Plaintiff for actual damages, statutory damages, injunctive relief, costs, and reasonable attorney’s

fees. Also, Plaintiff’s injuries resulted from Defendants’ malice, actual fraud and/or willful and

intentional misconduct, entitling Plaintiff to punitive damages.

       63.     Because of Defendants’ conduct, Plaintiff was forced to hire counsel to pursue this

action, and Plaintiff’s recoverable damages include her reasonable attorney’s fees incurred in

prosecuting this claim.




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                               VI. GROUNDS FOR RELIEF - COUNT II

                                       INVASION OF PRIVACY

        64.     Plaintiff repeats, re-alleges, and incorporates by reference all previous paragraphs

above, as if rewritten herein their entirety.

        65.     At all pertinent times, Plaintiff had a reasonable and lawful expectation not to be

contacted and harassed by Defendants during her Bankruptcy Case and post-discharge. Despite

this lawsuit being filed on March 31, 2021, Defendant CitiMortgage continued to pull Plaintiff’s

Equifax credit report on April 12, 2021 and Defendant Cenlar continued to update its false credit

reporting with Equifax and TransUnion on May 5, 2021, showing a reduction in the Account

balance and recently made payments.

        66.     Cenlar’s contact by misreporting to the CRAs for Plaintiff to see, as well as

CitiMortgage impermissibly accessing Plaintiff’s protected credit file and consumer reports from

Equifax by conducting the improper post-servicing and post-discharge account review inquiries at

issue, were invasions of Plaintiff’s private affairs and privacy rights. These wrongful acts of

Defendants caused injury to Plaintiff.

        67.     CitiMortgage impermissibly obtaining Plaintiff’s consumer report(s) from Equifax

were invasions that would be highly offensive to a reasonable person, because Plaintiff’s

confidential, sensitive, personal and financial information was and is included in her Equifax

consumer report(s) and credit file, which CitiMortgage accessed with no permissible reason. The

information CitiMortgage accessed and obtained about Plaintiff is private, protected, and not for

public dissemination. When Defendant CitiMortgage accessed Plaintiff’s reports, it had already

transferred the servicing of the Account to Cenlar. Plaintiff had not consented to Defendants

pulling her credit reports or accessing her protected credit files with any of the CRAs, and



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CitiMortgage had no permissible purpose to obtain or use her consumer reports after it was no

longer servicing the Account and certainly not post-discharge. The wrongful acts of CitiMortgage

caused injury to Plaintiff.

        68.     Plaintiff’s expectation not to be contacted and harassed by Defendants on the

Account was reasonable and lawful. Plaintiff had surrendered and permanently vacated the

Property prior to filing her Bankruptcy Case and had not expressed any interest in retaining the

Property afterwards. Moreover, the discharge injunction was in place when much of these actions

took place, which prohibited Defendants from contacting her about the Account seeking

collections from her.

        69.     Plaintiff’s belief that Defendants would not contact her during the times at issue

was reasonable and justified. Plaintiff also believed Defendants’ continued contact would cease

after this lawsuit was filed; however, Defendants have continued these activities and failed to

correct themselves, maliciously ratifying their own conduct and failing to mitigate Plaintiff’s

damages. Such wrongful acts and contacts by Defendants caused injury to Plaintiff which resulted

in, or further exacerbated, her emotional anguish, mental distress, loss of time, and inconvenience,

as well as other harm.

        70.     Plaintiff’s injuries resulted from Defendants’ malice, which entitles Plaintiff to

exemplary damages under Texas Civil Practice and Remedies Code §41.003(a).

                              VII. GROUNDS FOR RELIEF - COUNT III

   FAIR CREDIT REPORTING ACT (FCRA 15 U.S.C. § 1681 et seq.) (CITIMORTGAGE ONLY)

        71.     Plaintiff repeats, re-alleges, and incorporates by reference all previous paragraphs

above, as if set forth herein in their entirety.




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        72.     Plaintiff brings claims against CitiMortgage under the FCRA under 15 U.S.C. §§

1681n and o, entitling Plaintiff to relief against CitiMortgage for damages and attorney’s fees for

obtaining and using Plaintiff’s consumer report under false pretenses or knowingly without a

permissible purpose or negligently failing to comply with the requirements imposed by the FCRA,

respectively.

        73.     After it was no longer servicing the Account and even post-discharge, CitiMortgage

impermissibly accessed Plaintiff’s credit file with Equifax and obtained and used her consumer

reports containing her confidential, personal and financial information by conducting account

review inquiries with no legally permissible purpose. Despite this lawsuit being filed on March

31, 2021, Defendant CitiMortgage continued to pull Plaintiff’s Equifax credit report on April 12,

2021.   CitiMortgage’s account review inquiries are examples of its impermissible pulls of

Plaintiff’s credit and prohibited action. See Exhibits “G” and “H.”

        74.     The FCRA establishes very specific limits as to when and why an entity can obtain

a consumer report:

                (f) CERTAIN USE OR OBTAINING OF INFORMATION PROHIBITED. – A person shall not
                use or obtain a consumer report for any purpose unless –
                (1) the consumer report is obtained for a purpose for which the consumer report is
                    authorized to be furnished under this section; and
                (2) the purpose is certified in accordance with section 1681e of this title by a
                    prospective user of the report through a general or specific certification.
15 U.S.C. § 1681b (f).

        75.     Section 1681b(a)(3) of the FCRA lists the only purposes for which a consumer

report can be obtained; it states, in relevant part:

                (a) IN GENERAL. – * * * any consumer reporting agency may furnish a consumer
                report under the following circumstances and no other:
                                ***
                     (3) To a person which it has reason to believe –

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                       (A) intends to use the information in connection with a credit transaction
                        involving the consumer on whom the information is to be furnished and
                        involving the extension of credit to, or review or collection of an account
                        of, the consumer;
                        ***
                       (E) intends to use the information, as a potential investor or servicer, or
                        current insurer, in connection with a valuation of, or an assessment of the
                        credit or prepayment risks associated with, an existing credit obligation; or
                       (F) otherwise has a legitimate business need for the information-
                        ***
             (ii) to review an account to determine whether the consumer continues to meet the
             terms of the account.

See 15 U.S.C. § 1681b (a)(3).

       76.      Section 1681a(d)(1) defines a “consumer report” as:

       (d) CONSUMER REPORT. –

                (1) IN GENERAL. – The term “consumer report” means any written, oral, or other
                communication of any information by a consumer reporting agency bearing on a
                consumer’s credit worthiness, credit standing, credit capacity, character, general
                reputation, personal characteristics, or mode of living which is used or expected to
                be used or collected in whole or in part for the purpose of servicing as a fact in
                establishing the consumer’s eligibility for-
                    (A) credit or insurance to be used primarily for personal, family, or household
                       purposes;
                    (B) employment purposes; or
                    (C) any other purpose authorized under section 1681(b) of this title.

15 U.S.C. § 1681a (d)(1).

       77.      CitiMortgage furnished false information to Equifax, misrepresenting it had a

legally permissible purpose to conduct an inquiry and review of the Account, so it could gain

access to Plaintiff’s protected credit file with Equifax and impermissibly obtain and use her

confidential, personal and financial information in her consumer report(s).

       78.      CitiMortgage represented to Equifax that its alleged permissible purpose for

conducting its post-servicing and post-discharge reviews on the Account was because the Account

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was open, due, owing and collectible from Plaintiff. CitiMortgage’s purported permissible

purpose, however, was false because once the servicing of the Account was transferred to Cenlar

and the debt had been discharged, it no longer had the right to access Plaintiff’s credit reports as

the Account no longer existed. Moreover, title to the Property had transferred to a new owner

prior to the bankruptcy, so the debt became unsecured at the time of discharge. Thus, Plaintiff did

not have possession of the Property, did not have title to Property and could not participate in any

loss mitigation, and no longer had an account with CitiMortgage when CitiMortgage repeatedly

accessed Plaintiff’s credit file after the servicing of the Account was transferred and post-

discharge. Despite the filing of this lawsuit, CitiMortgage willfully and wantonly continued to

access Plaintiff’s credit file. At no time after CitiMortgage assigned the servicing to Cenlar had

Plaintiff sought credit from CitiMortgage or engaged in any business dealings with CitiMortgage,

so there was no permissible purpose for CitiMortgage to pull Plaintiff’s credit based on these

reasons. Accordingly, there was no permissible purpose for CitiMortgage to obtain and use

Plaintiff’s consumer reports from Equifax which were illegally obtained.

       79.     At all relevant times, CitiMortgage had actual knowledge that it transferred the

servicing of the Account to Cenlar and as a result of the discharge being granted in the Bankruptcy

Case, the discharge injunction was in effect, legally prohibiting CitiMortgage from pursuing any

collection against Plaintiff on the discharged Account.

       80.     CitiMortgage also had actual knowledge Plaintiff had not authorized it to pull her

credit and obtain and use her consumer reports from the CRAs, because there was no longer a

debtor-creditor relationship between Plaintiff and CitiMortgage post-servicing transfer and post-

discharge after she surrendered the Property. Accordingly, CitiMortgage knew it was prohibited




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from obtaining and using Plaintiff’s consumer reports and her confidential and personal

information kept therein by any of the CRAs post-discharge.

       81.     CitiMortgage impermissibly obtaining or using of Plaintiff’s private personal and

financial information held in her consumer reports from the CRAs, when CitiMortgage had actual

knowledge it had no legally permissible purpose to do so, constitutes CitiMortgage’s knowing and

willful violations of the FCRA under 15 U.S.C. § 1681n, or alternatively and at a minimum,

negligent violations under 15 U.S.C. § 1681o.

       82.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage obtained and used Plaintiff’s consumer report(s), and private, personal and financial

information therefrom, for the illegal purpose of attempting to collect on the discharged Account

from Plaintiff personally.

       83.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage used false pretenses, namely the representation(s) it made to Equifax that it intended

to use Plaintiff’s consumer report(s) for a permissible purpose, when, under the FCRA,

CitiMortgage had no such permissible purpose to do so, in order to obtain and use Plaintiff’s

private, personal and financial information for the illegal purpose of attempting to collect the

discharged debt on the Account from Plaintiff personally.

       84.     Plaintiff believes that, after reasonable discovery, she will be able to prove

CitiMortgage is unwilling or unable to prevent its system(s) or agents, from requesting and

obtaining Plaintiff’s consumer report(s) without a permissible purpose to do so, thereby subjecting

Plaintiff to having her private, personal and financial information disclosed to CitiMortgage

without her consent, authorization or other legal justification.




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       85.     As a direct and proximate result of CitiMortgage’s conduct at issue, Plaintiff has

suffered, and will continue to suffer, substantial injury, including, but not limited to, mental

anguish and emotional distress, entitling Plaintiff to an award of actual and statutory damages in

an amount to be proved at trial, plus attorneys’ fees, together with the costs of this action, pursuant

to 15 U.S.C. §§ 1681n or o.

       86.     The injuries suffered by Plaintiff as a direct result of CitiMortgage impermissibly

obtaining and using Plaintiff’s consumer report(s) post-discharge were attended by circumstances

of fraud, malice, and willful and wanton misconduct, entitling Plaintiff to punitive damages

pursuant to 15 U.S.C. § 1681n(a)(2). Because CitiMortgage ‘s impermissible acquisition and use

of Plaintiff’s consumer report(s) will have a continuing adverse impact on Plaintiff, and because

the violations may be ongoing in nature, CitiMortgage is liable for any and all future harm suffered

by Plaintiff as a result of CitiMortgage’s actionable conduct.

       87.     After being afforded a reasonable time to conduct discovery, Plaintiff believes she

will be able to show that, at all relevant times, CitiMortgage knew, and continues to know, that a

discharge order granted by a U.S. Bankruptcy Court means discharged debts are no longer

collectible from discharged debtors, but CitiMortgage has made a corporate decision to willfully

and maliciously act contrary to this knowledge in its calculated decision to violate its duty and

requirement to furnish accurate information to the CRAs, by furnishing to the CRAs false

information of a purported permissible purpose to access the credit files of and obtain confidential

personal and credit information and consumer reports for discharged consumers, alleging accounts

with discharged debt are open and collectible or that consumers with discharged debt CitiMortgage

is servicing have applied for new credit, when they have not, all to further CitiMortgage’s illegal

in personam collection attempts on discharged debt.



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                              VIII. GROUNDS FOR RELIEF - COUNT IV

              FAIR DEBT COLLECTION PRACTICES ACT (“FDCPA”) (CENLAR ONLY)

        88.     Plaintiff repeats, re-alleges, and incorporates by reference all the above paragraphs

as if fully rewritten here.

        89.     The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute

prohibiting a catalog of activities in connection with the collection of debts by third parties. See

15 U.S.C. § 1692, et seq. The FDCPA imposes civil liability on any person or entity that violates

its provisions, establishes general standards of debt collector conduct, defines abuse, and provides

for specific consumer rights. The operative provisions of the FDCPA declare certain rights to be

provided to or claimed by debtors, forbid deceitful and misleading practices, prohibit harassing

and abusive tactics, and proscribe unfair or unconscionable conduct, both generally and in a

specific list of disapproved practices.

        90.     In particular, the FDCPA broadly enumerates several practices considered contrary

to its stated purpose and forbids debt collectors from taking such action. The substantive heart of

the FDCPA lies in three broad prohibitions. First, a “debt collector may not engage in any conduct

the natural consequence of which is to harass, oppress, or abuse any person in connection with the

collection of a debt.” 15 U.S.C. § 1692d. Second, a “debt collector may not use any false,

deceptive, or misleading representation or means in connection with the collection of any debt.”

15 U.S.C. § 1692e. And third, a “debt collector may not use unfair or unconscionable means to

collect or attempt to collect any debt.” 15 U.S.C. § 1692f. The FDCPA is designed to protect

consumers from unscrupulous collectors, whether or not there exists a valid debt, broadly prohibits

unfair or unconscionable collection methods, conduct which harasses, oppresses or abuses any




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debtor, and any false, deceptive or misleading statements in connection with the collection of a

debt.

        91.    In enacting the FDCPA, the United States Congress found that “[t]here is abundant

evidence of the use of abusive, deceptive, and unfair debt collection practices by many debt

collectors,” which “contribute to the number of personal bankruptcies, to marital instability, the

loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a. Additionally, Congress

found existing laws and procedures for redressing debt collection injuries to be inadequate to

protect consumers. See 15 U.S.C. § 1692b.

        92.    Congress enacted the FDCPA to regulate the collection of consumer debts by debt

collectors. The express purpose of the FDCPA is to “eliminate abusive debt collection practices

by debt collectors, to ensure debt collectors who refrain from using abusive debt collection

practices are not competitively disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses.” 15 U.S.C. § 1692e.

        93.    The FDCPA is a strict liability statute and provides for actual and statutory damages

upon the showing of a single violation. Also, the FDCPA is a remedial statute and, therefore, must

be construed liberally in favor of the debtor/consumer.

        94.    The FDCPA is to be interpreted in accordance with the “least sophisticated

consumer” standard. See Brown v. Card Serv. Ctr, 464 F.3d 450, 453 fn1 (3d Cir. 2006); Graziano

v. Harrison, 950 F.2d 107, 111, fn5 (3rd Cir. 1991). The FDCPA was not “made for the protection

of experts, but for the public - that vast multitude which includes the ignorant, the unthinking, and

the credulous, and the fact that a false statement may be obviously false to those who are trained

and experienced does not change its character, nor take away its power to deceive others less

experienced.” Id.



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       95.     Because reporting a debt to a credit reporting agency can be seen as a

communication in connection with the collection of a debt, the reporting of such a debt in violation

of the provisions of § 1692e(8) can subject a debt collector to liability under the FDCPA.” Blanks

v. Ford Motor Credit, et al., Not Reported in F.Supp2d, 2005 WL 43981 at *3 (N.D. Tex.) (citing

Sullivan v. Equifax, Inc., 2002 WL 799856, at *4 (E.D. Penn. April 19, 2002)).

       96.     To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use

of false, deceptive, and misleading representations or means in connection with the collection of

any debt and sets forth a non-exhaustive list of certain per se violations of false and deceptive

collection conduct. See 15 U.S.C. § 1692e(1)-(16).

       97.     The deceptive and coercive collection actions of Cenlar at issue, by making

misrepresentations to Plaintiff and the CRAs to be included on her credit report and disseminated

to prospective credit grantors, violate 15 U.S.C. § 1692e(2)(A) and 15 U.S.C. § 1692f(1). Despite

this lawsuit being filed on March 31, 2021, Defendant Cenlar continued to update its false credit

reporting with Equifax and TransUnion on May 5, 2021, showing a reduction in the Account

balance and recently made payments, maliciously ratifying their own conduct and failing to

mitigate Plaintiff’s damages.

       98.     All of Defendant Cenlar’s actions at issue, described hereinabove, are the

manifestations of Cenlar’s practices and policies to ignore the provisions of the Bankruptcy Code

applicable to them and illegally collect or attempt to collect pre-petition debts from unsophisticated

debtors.




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                                  IX. GROUNDS FOR RELIEF – COUNT V

                                            DEFAMATION

        99.     The allegations in the paragraphs set forth above are re-alleged and incorporated

herein by this reference.

        100.    Defendant Cenlar, an agent of Defendant CitiMortgage, provided statements of fact

and misrepresentations, post-discharge, of the subject debt in Plaintiff’s Bankruptcy Case for the

Account regarding Plaintiff, her payment history, and the status of the Account to be published

through the CRAs. After the filing of this lawsuit, Cenlar has continued to misreport the status of

the Account with the CRAs and CitiMortgage has continued to perform impermissible account

reviews to be seen by Plaintiff and other third parties on her Equifax credit report.

        101.    Defendants may be held liable for the CRAs’ republication of the false and

defamatory statements because Defendants’ actions created a reasonable risk that the defamatory

matter would be communication to other parties by the CRAs.

        102.    The published statements referred to Plaintiff and were false.

        103.    The published statements were defamatory, as the false statements constituted an

invasion of the Plaintiff’s interests in her reputation and good name and has resulted in damage to

her credit.

        104.    The publication of such false statements of fact about Plaintiff, her payment history,

and the status of the Plaintiff’s mortgage loan account was done with actual malice and/or willful

intent to injure the Plaintiff.

        105.    Actual malice is defined as publishing a statement with knowledge of or reckless

disregard for its falsity.




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          106.   Defendants acted with actual malice and/or willful intent to injure the Plaintiff

because they willfully provided for publication of false information regarding Plaintiff, her

payment history, and the status of Plaintiff’s mortgage loan account with knowledge of the falsity

of such information, having been informed of the truth by Plaintiff.

          107.   Defendants’ publication of the false information regarding Plaintiff, her payment

history, and the status of the discharged Account was also done with reckless disregard for the

truth, which is demonstrated by Defendants’ pattern of ignoring Plaintiff’s dispute of such

information as set forth above.

          108.   Defendants’ malice may be inferred from the fact that Defendants continually

published false and misleading information regarding Plaintiff, her payment history, and the status

of the Account post-discharge to the CRAs and by their failure to correct such statements after

being specifically informed of the falsity of such information. Moreover, Defendants are fully

aware that 11 U.S.C.S. § 524(c) invalidates any post-discharge modification(s) to the extent that

they seek to re-impose the personal liability of the debtor. As there is no mechanism under

bankruptcy code which allows a post-discharge reaffirmation of the Account, Defendant Cenlar is

fully aware that it has no legal basis to report the Account as a live debt. Furthermore, Defendants

continue to publish false and misleading information regarding Plaintiff, her payment history, and

the status of the Account post-discharge to the CRAs, despite the lawsuit and despite the fact that

their failure to correct the false credit reporting after being sued is further evidence of Defendants’

malice.

          109.   Defendants provided for publication the defamatory information both before and

after notification of the falsity of such information by Plaintiff. Additionally, each time the false




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statements were presented to a third party, in the form of credit inquiries, a new publication

occurred.

        110.    Plaintiff has suffered actual damages, including increased costs of credit, increased

interest rates, attorney’s fees and/or out-of-pocket expenses, amongst others, and has suffered

physically, mentally, and emotionally as a result of Defendants’ publication of defamatory

statements.

        111.    Plaintiff is entitled to actual damages as a result of Defendants’ publication of

defamatory statements.

                         X. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

        112.    Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

principal, within the line and scope of such individuals’ (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability on Defendants for all such

actions under the doctrine of respondeat superior and/or vicarious liability. This includes, but is

not limited to, CitiMortgage being liable for all acts of Cenlar at issue in this matter, as Cenlar was

acting as the servicer of the Account and a duly authorized agent or representative of CitiMortgage

at all times at issue.

                                           XI. DAMAGES

        113.    In addition to any damages previously stated hereinabove, the conduct of

Defendants has proximately caused Plaintiff past and future monetary loss; past and future mental

distress, emotional anguish and a discernable injury to Plaintiff’s emotional state; and other

damages, evidence for all of which will be presented to the jury. Moreover, dealing with the




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consequences of Defendants’ actions and constantly having to monitor her credit reports has cost

Plaintiff time and mental energy, which are precious to her.

       114.    As stated previously, Cenlar’s misreporting of the Account as a live debt with a

nearly $2,000 monthly mortgage payment due and owing every month has been seen by multiple

current and would-be creditors. Cenlar’s actions have caused actual damage to Plaintiff in that

such misreporting has resulted in loss of credit capacity, decreased Plaintiff’s credit score and

significantly increased Plaintiff’s debt to credit ratio, resulting in at least two of her current

creditors to reduce her credit limit.

       115.    Defendants’ actions at issue not only brought back to Plaintiff all the stress and

array of negative emotions she suffered in having to file for bankruptcy, but they were now

increased, and a feeling of hopelessness, despair, extreme anxiety and worry, overtook her. As a

result of Defendants’ actions at issue, Plaintiff has suffered an extreme degree of mental anguish

and harm. Plaintiff has suffered a tremendous amount of stress, anxiety, nervousness, frustration,

and anger which reached a level that physically affected her and negatively impacted her day-to-

day life causing or exacerbating the frequency and degree of her headaches, stress, anxiety,

stomach problems and insomnia. In addition, Cenlar’s illegal reporting of a discharged debt on

Plaintiff’s credit reports is causing strained and stress on her relationships with her mother and her

children as it created uncertainty and a feeling of loss of control over her life.

       116.    The sanctity of Plaintiff’s privacy is precious to her and to lose that as a result of

Cenlar misreporting false and defamatory information to the CRAs to be added to her credit file

and CitiMortgage continuing to impermissibly access her credit file, has added further to Plaintiff’s

mental anguish, distress and harm. To have lost that imposes upon Plaintiff numerous emotions:

frustration, confusion, uncertainty, anger, fear, defensiveness, distrust.       If someone entered



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Plaintiff’s home without her knowledge or consent and rifled through her personal and private

things, no one would question that she felt violated by the obvious invasion of her privacy. But,

for some reason, when Defendants feel free to rummage through Plaintiff’s private personal and

financial information without Plaintiff’s knowledge or consent, and without a legal permissible

purpose to do so, it is “assumed” (at least by Defendants) that no harm has been done and this

assumption is wrong.

        117.    It is also greatly concerning to Plaintiff that her private personal and financial

information is routinely transmitted to a company with whom she no longer has a relationship.

Plaintiff has no idea what Defendants intend to do with her private and personal information, which

adds further to her frustration, uncertainty, anger, fear, defensiveness and distrust of Defendants,

further adding to her emotional anguish and resulting physical harm and negatively impacting her

day-to-day life. Especially in this day and age where data breaches have become commonplace,

Plaintiff is anxious and troubled about how safe her most private information is in the hands of a

company that is obtaining it illegally.

        118.    After this suit was filed, Defendants have continued the false credit reporting and

illegal accessing of her credit file, ratifying their earlier conduct rather than mitigating it. This has

exacerbated Plaintiff’s feeling of helplessness and loss of control of her life in that she believed

after filing bankruptcy and certainly after receiving a discharge of the subject mortgage debt, she

would be protected and would finally have a fresh start and could begin a positive, new chapter in

her life. Defendants continue to deny her the fresh start Congress intended for debtors in the

Bankruptcy Code. As Defendants have refused to cease its collection efforts despite Plaintiff’s

demand that they honor the discharge, Plaintiff has become increasingly concerned that something




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went wrong with the bankruptcy process and that she may owe the debt which has caused her

further anxiety and fear of what may happen to her if she does not pay it.

        119.    At all relevant times, Defendants knew, and they continue to know, that, pursuant

to a discharge order granted by a U.S. Bankruptcy Court, discharged debts are no longer legally

collectible, but Defendants made a corporate decision to act knowingly, willfully, maliciously, and

contrary to their/its knowledge of bankruptcy law, to attempt to collect on the debt they knew had

been discharged as a result of Plaintiff’s Bankruptcy Case. Defendants had no right to engage in

any of their actions at issue.

        120.    Plaintiff believes that, after reasonable discovery in this case, she will be able to

show that all actions taken by, or on behalf of, Defendants were conducted maliciously, wantonly,

recklessly, intentionally, knowingly, and/or willfully, with the desire to harm Plaintiff, with the

actual knowledge that such actions were in violation of the law.

        121.    Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendants have been involved in numerous disputes involving complaints about the type of

conduct at issue here; nevertheless, Defendants, intentionally and knowingly, have refused to

correct their policies and comply with applicable laws, of which laws they are well-aware.

        122.    Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendants have engaged in a pattern and practice of wrongful and unlawful behavior, in

accordance with their established policies and procedures, with respect to knowingly, willfully,

intentionally, and maliciously attempting to collect on debts included in an active bankruptcy or

discharged in bankruptcy. Accordingly, Defendants are subject to punitive damages, statutory

damages, and all other appropriate measures necessary to punish and deter similar future conduct




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by Defendants. Moreover, Plaintiff’s injuries resulted from Defendants’ malice, and/or willful and

intentional misconduct, entitling Plaintiff to punitive damages.

        123.    Plaintiff believes that, after reasonable discovery, she will be able to show that

Defendants’ actions at issue were part of Defendants’ illegal design(s), implemented in their

policies and procedures, to profit by harassing unsophisticated debtors and collecting debts that

had been included and discharged in each of debtor’s bankruptcy cases.

        124.    Due to Defendants’ conduct, Plaintiff was forced to hire counsel, and her damages

include reasonable attorney’s fees incurred in prosecuting her claims.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Kimberly Jesse Volpe aka

Kimberly Lackey prays the Court:

        A.      Enter judgment in favor of Plaintiff and against Defendants, joint and severally, for

statutory damages, actual damages, costs, and reasonable and necessary attorney’s fees for

Defendants’ violations of the TDCA, Plaintiff’s privacy rights, and defamation, against

CitiMortgage for violations of the FCRA, and against Cenlar for violations of the FDCPA;

        B.      Find that appropriate circumstances exist for an award of punitive damages to

Plaintiff;

        C.      Award Plaintiff pre-judgment and post-judgment interest as allowed by law; and

        D.      Grant such other and further relief, in law or equity, to which Plaintiff might show

she is justly entitled.




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                                           Respectfully submitted,


                                           /s/ James J. Manchee
                                           James J. Manchee
                                           State Bar Number 00796988
                                           jim@mancheelawfirm.com
                                           MANCHEE & MANCHEE, PC
                                           5048 Tennyson Parkway, Suite 250
                                           Plano, Texas 75024
                                           (972) 960-2240 (telephone)
                                           (972) 233-0713 (fax)

                                           COUNSEL FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2021, a true and correct copy of the foregoing document

was served upon all counsel of record via the Court’s CM/ECF system pursuant to the Federal

Rules of Civil Procedure.

                                           /s/ James J. Manchee
                                           James J. Manchee




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  Fill in this information to identify your case:
  Debtor 1             Kimberly              Jesse                  Volpe
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.

  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $150,899.00             $232,452.00
Citimortgage Inc                                 907 Tulane Dr., Arlington, TX
Creditor's name
Attn: Bankruptcy                                 76012
Number       Street
PO Box 6423
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Sioux Falls              SD      57117               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                FHA Real Estate Mortgage
   to a community debt
Date debt was incurred           10/2011         Last 4 digits of account number        9     9    8    0
Mortgage is being paid by Maridan 53, LLC which purchased the property under a wrap-around transaction in 08/2017




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $150,899.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1

                                                                 EXHIBIT "A"
     Case 17-44426-mxm13 Doc 8 Filed 11/05/17 Entered 11/05/17 22:36:06 Page 1 of 4
      Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 35 of 123 PageID 456
Information to identify the case:
Debtor 1                 Kimberly Jesse Volpe                                                   Social Security number or ITIN    xxx−xx−

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Texas
                                                                                                Date case filed for chapter 13 11/2/17
Case number:          17−44426−mxm13



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/15


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Kimberly Jesse Volpe

2. All other names used in the
   last 8 years
                                              fka Kimberly Lackey


3. Address
                                              Marcus B. Leinart                                             Contact phone: (469) 232−3328
                                              Leinart Law Firm                                              Email: ecf@leinartlaw.com
4. Debtor's  attorney
   Name and address
                                              11520 N. Central Expressway
                                              Suite 212
                                              Dallas, TX 75243

5. Bankruptcy trustee                         Pam Bassel                                                    Contact phone: (817) 916−4710
     Name and address                         7001 Blvd 26                                                  Email: fwch13cmecf@fwch13.com
                                              Suite 150
                                              North Richland Hills, TX 76180

6. Bankruptcy clerk's office                   501 W. Tenth Street                                         Office Hours: Mon.−Fri. 8:30−4:30
     Documents in this case may be filed       Fort Worth, TX 76102                                        Contact Phone 817−333−6000
     at this address.
     You may inspect all records filed in
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1




                                                                    EXHIBIT "B"
     Case 17-44426-mxm13 Doc 8 Filed 11/05/17 Entered 11/05/17 22:36:06 Page 2 of 4
      Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 36 of 123 PageID 457
Debtor Kimberly Jesse Volpe                                                                                                   Case number 17−44426−mxm13

7. Meeting of creditors                   December 5, 2017 at 02:00 PM                                      Location:
    Debtors must attend the meeting to The meeting may be continued or adjourned to a later                  7001 Blvd 26, Suite 150, North Richland Hills,
    be questioned under oath. In a joint date. If so, the date will be on the court docket.                 TX 76180
    case, both spouses must attend.
    Creditors may attend, but are not
    required to do so.
8. Deadlines                              Deadline to file a complaint to challenge                                Filing deadline: ____________
   The bankruptcy clerk's office must     dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                             You must file:
                                          • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                          • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                          Deadline for all creditors to file a proof of claim                      Filing deadline: 3/5/18
                                          (except governmental units):
                                          Deadline for governmental units to file a proof of                       Filing deadline: ____________
                                          claim:


                                          Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                           www.uscourts.gov or any bankruptcy clerk's office.
                                          If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                          a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                          For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                          including the right to a jury trial.


                                          Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                          The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                          believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                          may file an objection.

9. Filing of plan                         The debtor has not filed a plan as of this date. A copy of the plan or summary and a notice of the hearing on
                                          confirmation will be sent separately.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                               extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                          any questions about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                       according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                          later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                          hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                          unless the court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                          exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                          the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                          a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                          under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                          debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                          discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                          bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                          of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




Official Form 309I                                   Notice of Chapter 13 Bankruptcy Case                                                     page 2




                                                                  EXHIBIT "B"
       Case 17-44426-mxm13 Doc 8 Filed 11/05/17 Entered 11/05/17 22:36:06 Page 3 of 4
        Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 37 of 123 PageID 458
                                       United States Bankruptcy Court
                                        Northern District of Texas
In re:                                                                                  Case No. 17-44426-mxm
Kimberly Jesse Volpe                                                                    Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0539-4           User: tspelmon               Page 1 of 2                   Date Rcvd: Nov 03, 2017
                               Form ID: 309I                Total Noticed: 51


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 05, 2017.
db             +Kimberly Jesse Volpe,
tr             +Pam Bassel,    7001 Blvd 26,   Suite 150,    North Richland Hills, TX 76180-8811
17876437       +Arlington Emergency Med Assoc.,     PO Box 960260,    Oklahoma City, OK 73196-0260
17876439        Attorney General of Texas,    Collections Div- Bankruptcy Sec,     PO Box 12548,
                 Austin, TX 78711-2548
17876440       +Baylor All Saints,    P.O. Box 460036,    Garland, TX 75046-0036
17876443       +Check N Title,    3906 Camp Wisdom,    Dallas, TX 75237-2472
17876444        Citimortgage Inc,    Attn: Bankruptcy,    PO Box 6423,    Sioux Falls, SD 57117
17876453       +Leinart Law Firm,    11520 N. Central Expressway,     Suite 212,   Dallas, Texas 75243-6608
17876454       +Linebarger Goggan Blair et al,    2777 N Stemmons Frwy. Ste. 1000,     Dallas, TX 75207-2328
17876455       +Mohela-Dept of Ed,    633 Spirit Dr,    Chesterfield, MO 63005-1243
17876457       +Panhandle Plains,    PO Box 839,    Canyon, TX 79015-0839
17876458       +Paypal Credit Inc.,    Attn: Bankruptcy Dept,    PO Box 5138,    Lutherville, MD 21094-5138
17876459       +Quest Diagnostics,    500 Plaza Drive,    Secaucus, NJ 07094-3656
17876466       +Saxon Mortgage Service,    Po Box 161489,    Fort Worth, TX 76161-1489
17876467       +Six Flags Membership,    2201 Road To Six Flags,     Arlington, TX 76011-5157
17876474       +Texas Health Presbyterian,    P.O. Box 460036,     Garland, TX 75046-0036
17876476       +Transformance,    8737 King George Dr.,    Dallas, TX 75235-2222
17876481       +Visa Dept Store National Bank-Macys,     Attn: Bankruptcy,    PO Box 8053,    Mason, OH 45040-8053

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ecf@leinartlaw.com Nov 03 2017 22:35:59        Marcus B. Leinart,    Leinart Law Firm,
                 11520 N. Central Expressway,    Suite 212,    Dallas, TX 75243
17876438       +EDI: ATTWIREBK.COM Nov 03 2017 22:13:00       AT & T,    PO Box 90245,    Arlington, TX 76004-3245
17876435       +E-mail/Text: bankruptcy@rentacenter.com Nov 03 2017 22:38:49        Acceptance Now,
                 Attn: Bankruptcy,    5501 Headquarters Dr,    Plano, TX 75024-5837
17876436       +E-mail/Text: bankruptcy@rentacenter.com Nov 03 2017 22:38:49        Acceptance Now,
                 5501 Headquarters Dr,    Plano, TX 75024-5837
17876442       +EDI: CCS.COM Nov 03 2017 22:13:00      CCS,    Payment Processing Center,     P.O. Box 55126,
                 Boston, MA 02205-5126
17876441       +EDI: CAPITALONE.COM Nov 03 2017 22:13:00       Capital One,    Attn: Bankruptcy,    PO Box 30253,
                 Salt Lake City, UT 84130-0253
17876445       +EDI: WFNNB.COM Nov 03 2017 22:13:00       Comenity Bank,    Attn: Bankruptcy,    PO Box 182125,
                 Columbus, OH 43218-2125
17876447       +EDI: RCSFNBMARIN.COM Nov 03 2017 22:13:00       Credit One Bank Na,     PO Box 98873,
                 Las Vegas, NV 89193-8873
17876448       +E-mail/Text: CSIBKR@CREDITSYSTEMSINTL.COM Nov 03 2017 22:38:38
                 Credit Systems International, Inc,    1277 Country Club Lane,     Fort Worth, TX 76112-2304
17876449        EDI: FORD.COM Nov 03 2017 22:13:00      Ford Motor Credit,     National Bankruptcy Service Center,
                 PO Box 62180,    Colorado Springs, CO 80962
17876450       +EDI: BLUESTEM Nov 03 2017 22:13:00      Gettington.com,     PO Box 166,    Newark, NJ 07101-0166
17876452        EDI: IRS.COM Nov 03 2017 22:13:00      Internal Revenue Service,
                 Centralized Insolvency Operations,    PO Box 7346,    Philadelphia, PA 19101-7346
17876456       +Fax: 407-737-5634 Nov 03 2017 23:07:22       Ocwen Loan Servicing, Llc,
                 Attn: Research-Bankruptcy,    1661 Worthington Rd Ste 100,     West Palm Bch, FL 33409-6493
17876460       +E-mail/Text: bankruptcy@regionalmanagement.com Nov 03 2017 22:36:17         Regional Fin,
                 230 W. Parker Rd.,    Plano, TX 75075-2352
17876462       +E-mail/Text: bankruptcy@regionalmanagement.com Nov 03 2017 22:36:17         Regional Finance,
                 3917 W Camp Wisdom Rd.,    Dallas, TX 75237-2468
17876463       +E-mail/Text: bankruptcy@regionalmanagement.com Nov 03 2017 22:36:17         Regional Finance,
                 PO Box 776,    Mauldin, SC 29662-0776
17876464       +E-mail/Text: bankruptcy@regionalmanagement.com Nov 03 2017 22:36:17         Regional Finance,
                 3465 W. Walnut St. ste. 107,    Garland, TX 75042-7169
17876461       +E-mail/Text: bankruptcy@regionalmanagement.com Nov 03 2017 22:36:17         Regional Finance,
                 1518 Pennsylvania Avenue,    Fort Worth, TX 76104-2027
17876465       +EDI: HFC.COM Nov 03 2017 22:13:00      Rooms To Go,    P O Box 703,     Wooddale, IL 60191-0703
17876468       +EDI: RMSC.COM Nov 03 2017 22:13:00      Synchrony Bank-Amazon,     Attn: Bankruptcy,
                 PO Box 965060,    Orlando, FL 32896-5060
17876469       +EDI: RMSC.COM Nov 03 2017 22:13:00      Synchrony Bank-Care Credit,      Attn: Bankruptcy,
                 PO Box 965060,    Orlando, FL 32896-5060
17876470       +EDI: RMSC.COM Nov 03 2017 22:13:00      Synchrony Bank-TJX,     Attn: Bankruptcy,     PO Box 965060,
                 Orlando, FL 32896-5060
17876471        EDI: AISTMBL.COM Nov 03 2017 22:13:00       T-Mobile,    Attn: Bankruptcy,    PO Box 53410,
                 Bellevue, WA 98015
17876446        E-mail/Text: pacer@cpa.state.tx.us Nov 03 2017 22:37:59        Comptroller of Public Accounts,
                 Revenue Accounting- Bankruptcy Div,    PO Box 13528,     Austin,TX 78711
17876472        E-mail/Text: delinquenttax@tarrantcounty.com Nov 03 2017 22:37:04
                 Tarrant County Tax Assesor-Collector,     Ron Wright, CTA,    PO Box 961018,
                 Fort Worth, TX 76161-0018
17876473        E-mail/Text: bankruptcyclerk@tabc.texas.gov Nov 03 2017 22:38:30
                 Texas Alcoholic Beverage Commission,     Licenses and Permit Division,     PO Box 13127,
                 Austin,TX 78711-3127
17876475       +E-mail/Text: ridpacer@twc.state.tx.us Nov 03 2017 22:38:24        Texas Workforce Commission,
                 TEC Building- Bankruptcy,    101 E 15th St,    Austin, TX 78778-0001

                                                  EXHIBIT "B"
         Case 17-44426-mxm13 Doc 8 Filed 11/05/17 Entered 11/05/17 22:36:06 Page 4 of 4
          Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 38 of 123 PageID 459


District/off: 0539-4                  User: tspelmon                     Page 2 of 2                          Date Rcvd: Nov 03, 2017
                                      Form ID: 309I                      Total Noticed: 51


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
17876480       +EDI: ECMC.COM Nov 03 2017 22:13:00      US Dept of Education,   Attn: Bankruptcy,    PO Box 16448,
                 Saint Paul, MN 55116-0448
17876477        E-mail/Text: ginger.sanchez@usdoj.gov Nov 03 2017 22:38:08      United States Attorney,
                 3rd Floor, 1100 Commerce St,    Dallas, TX 75242
17876478       +E-mail/Text: ustpregion06.da.ecf@usdoj.gov Nov 03 2017 22:37:05      United States Trustee,
                 1100 Commerce St, Rm 9C60,    Dallas, TX 75242-9998
17876479       +E-mail/Text: ustpregion06.da.ecf@usdoj.gov Nov 03 2017 22:37:05
                 United States Trustee- Northern District,    1100 Commerce St, Rm 976,   Dallas, TX 75242-0996
17876451        EDI: WACHOVIA.COM Nov 03 2017 22:13:00      Homeq Servicing,   Po Box 13716,
                 Sacramento, CA 95853
17876482       +EDI: BLUESTEM Nov 03 2017 22:13:00      Webbank-Gettington,   215 S State St,    Ste 1000,
                 Salt Lake City, UT 84111-2336
                                                                                              TOTAL: 33

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 05, 2017                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 2, 2017 at the address(es) listed below:
              Marcus B. Leinart   on behalf of Debtor Kimberly Jesse Volpe ecf@leinartlaw.com,
               ecfbackup@leinartlaw.com;llfecfbackup@yahoo.com
              Pam Bassel    fwch13cmecf@fwch13.com
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 3




                                                            EXHIBIT "B"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 39 of 123 PageID 460




                              EXHIBIT "C"
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                              EXHIBIT "C"
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                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 43 of 123 PageID 464




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 45 of 123 PageID 466




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 47 of 123 PageID 468




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 49 of 123 PageID 470




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 51 of 123 PageID 472




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 53 of 123 PageID 474




                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 55 of 123 PageID 476




                              EXHIBIT "C"
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                              EXHIBIT "C"
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                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 58 of 123 PageID 479




                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 59 of 123 PageID 480




                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 60 of 123 PageID 481




                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 61 of 123 PageID 482




                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 62 of 123 PageID 483




                              EXHIBIT "C"
Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 63 of 123 PageID 484




                              EXHIBIT "C"
    Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 1 of 16
      Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 64 of 123 PageID 485
Leinart Law Firm
11520 N. Central Expressway
Suite 212
Dallas, Texas 75243

Bar Number: 00794156
Phone: (469) 232-3328

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

In re: Kimberly Jesse Volpe                       xxx-xx-                 §          Case No:     17-44426-mxm-13
                                                                          §
                                                                                     Date:        2/16/2018
                                                                          §
                                                                          §          Chapter 13
                                                                          §




                                  Debtor(s)



                                                        AMENDED 2/28/2018
                                                  DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                            DISCLOSURES
    This Plan does not contain any Nonstandard Provisions.

    This Plan contains Nonstandard Provisions listed in Section III.

    This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.

    This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.

This Plan does not avoid a security interest or lien.

Language in italicized type in this Plan shall be as defined in the "General Order 2017-01, Standing Order Concerning Chapter 13
Cases" and as it may be superseded or amended ("General Order"). All provisions of the General Order shall apply to this Plan
as if fully set out herein.




                                                                 Page 1
Plan Payment:     Variable                      Value of Non-exempt property per § 1325(a)(4):         $0.00
Plan Term:     36 months                        Monthly Disposable Income per § 1325(b)(2):         $0.00
Plan Base:     $5,150.00                        Monthly Disposable Income x ACP ("UCP"):          $0.00
Applicable Commitment Period: 36 months


                                                          EXHIBIT "D"
     Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 2 of 16
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 65 of 123 PageID 486
Case No:     17-44426-mxm-13
Debtor(s):   Kimberly Jesse Volpe




                                                        MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the
amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the
Collateral described in Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on
the proof of claim. Any objection to valuation shall be filed at least seven (7) days prior to the date of the Trustee's pre-hearing
conference regarding Confirmation or shall be deemed waived.


                                                        SECTION I
                                    DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                   FORM REVISED 7/1/17
A.   PLAN PAYMENTS:

          Debtor(s) propose(s) to pay to the Trustee the sum of:
             $380.00       per month, months    1       to    1    .
             $760.00       per month, months    2       to    2    .
             $380.00       per month, months    3       to    3    .
             $110.00       per month, months    4       to    36   .

          For a total of     $5,150.00      (estimated " Base Amount ").

          First payment is due      12/2/2017       .
          The applicable commitment period ("ACP") is        36    months.

          Monthly Disposable Income ("DI") calculated by Debtor(s) per § 1325(b)(2) is:          $0.00          .
          The Unsecured Creditors' Pool ("UCP"), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
               $0.00      .
          Debtor's(s') equity in non-exempt property, as estimated by Debtor(s) per § 1325(a)(4), shall be no less than:
               $0.00          .

B. STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:
     1.   CLERK'S FILING FEE: Total filing fees paid through the Plan, if any, are            $0.00           and shall be paid in full
          prior to disbursements to any other creditor.

     2.   STATUTORY TRUSTEE'S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee's Percentage Fee(s) and any
          noticing fees shall be paid first out of each receipt as provided in General Order 2017-01 (as it may be superseded or
          amended) and 28 U.S.C. § 586(e)(1) and (2).

     3.   DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support
          Obligation directly to the DSO claimant. Pre-petition Domestic Support Obligations per Schedule "E/F" shall be paid in
          the following monthly payments:


                       DSO CLAIMANTS                          SCHED. AMOUNT            %        TERM (APPROXIMATE)              TREATMENT
                                                                                                 (MONTHS __ TO __)              $__ PER MO.

C. ATTORNEY FEES: To                        Leinart Law Firm               , total:         $3,700.00     ;
       $0.00    Pre-petition;             $3,700.00    disbursed by the Trustee.




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D.(1) PRE-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           SCHED.              DATE              %       TERM (APPROXIMATE)          TREATMENT
                                                  ARR. AMT        ARR. THROUGH                    (MONTHS __ TO __)

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

                       MORTGAGEE                                 # OF PAYMENTS             CURRENT POST-              FIRST CONDUIT
                                                                PAID BY TRUSTEE          PETITION MORTGAGE          PAYMENT DUE DATE
                                                                                          PAYMENT AMOUNT                (MM-DD-YY)

D.(3) POST-PETITION MORTGAGE ARREARAGE:

               MORTGAGEE                           TOTAL           DUE DATE(S)           %       TERM (APPROXIMATE)          TREATMENT
                                                    AMT.           (MM-DD-YY)                     (MONTHS __ TO __)

E.(1) SECURED CREDITORS - PAID BY THE TRUSTEE:

A.

                 CREDITOR /                     SCHED. AMT.           VALUE             %        TERM (APPROXIMATE)          TREATMENT
                COLLATERAL                                                                        (MONTHS __ TO __)            Per Mo.

B.

                 CREDITOR /                     SCHED. AMT.           VALUE             %                                    TREATMENT
                COLLATERAL                                                                                                     Pro-rata

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor
objects to the treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in
satisfaction of the creditor's claim.

E.(2) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
                          CREDITOR /                              SCHED. AMT.           %        TERM (APPROXIMATE)          TREATMENT
                         COLLATERAL                                                               (MONTHS __ TO __)            Per Mo.

B.
                          CREDITOR /                              SCHED. AMT.           %                                    TREATMENT
                         COLLATERAL                                                                                            Pro-rata

The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will
be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and
the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have
accepted the Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section
1325(a)(5)(B) and (C) of the Bankruptcy Code.

F.   SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                 SCHED. AMT.           VALUE                   TREATMENT
                           COLLATERAL
Citimortgage Inc                                                          $146,842.64        $232,452.00 Surrender
907 Tulane Dr., Arlington, TX 76012
Ford Motor Credit                                                             $184.69         $16,150.00 Surrender
2014 Ford Escape


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Upon confirmation, pursuant to 11 U.S.C. § 1322(b)(8), the surrender of the Collateral described herein will provide for the
payment of all or part of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F will be finally determined at confirmation. The allowed claim amount will be determined based
on a timely filed proof of claim and the Trustee's Recommendation Concerning Claims ("TRCC") or by an order on an objection
to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the
surrender, the automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is
secured by the Surrendered Collateral, without further order of the Court, on the 7th day after the date the Plan is filed. However,
the stay shall not be terminated if the Trustee or affected secured lender files an objection in compliance with paragraph 8 of the
General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G. SECURED CREDITORS - PAID DIRECT BY DEBTOR:

                        CREDITOR                                                    COLLATERAL                             SCHED. AMT.

Tarrant County Tax Assesor/Collector                         907 Tulane Dr., Arlington, TX 76012                                       $0.00

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                               CREDITOR                                        SCHED. AMT.    TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)

I.   SPECIAL CLASS:

                               CREDITOR                                        SCHED. AMT.    TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)

JUSTIFICATION:



J.   UNSECURED CREDITORS:

                        CREDITOR                             SCHED. AMT.                              COMMENT
Acceptance Now                                                    $5,919.00
Acceptance Now                                                        $0.00
Arlington Emergency Med Assoc.                                        $0.00
AT&T                                                                  $0.00
Baylor All Saints                                                     $0.00
Capital One                                                       $1,037.00
Capital One                                                         $978.00
Capital One                                                         $933.00
CCS                                                                   $0.00
Check N Title                                                         $0.00
Comenity Bank                                                       $835.00
Credit One Bank Na                                                  $645.00
Credit Systems International, Inc                                     $0.00
Ford Motor Credit                                                     $0.00
Gettington.com                                                      $351.52
Homeq Servicing                                                      ($1.00)
Mohela/Dept of Ed                                                $20,641.00


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Ocwen Loan Servicing, Llc                                             $0.00
Ocwen Loan Servicing, Llc                                             $0.00
Panhandle Plains                                                      $0.00
Paypal Credit Inc.                                                $1,014.45
Quest Diagnostics                                                     $0.00
Regional Fin                                                      $1,298.00
Regional Finance                                                      $0.00
Regional Finance                                                      $0.00
Regional Finance                                                      $0.00
Regional Finance                                                      $0.00
Rooms To Go                                                           $0.00
Saxon Mortgage Service                                                $0.00
Six Flags Membership                                                  $0.00
Synchrony Bank/Amazon                                                 $0.00
Synchrony Bank/Care Credit                                        $2,571.00
Synchrony Bank/TJX                                                  $132.00
T-Mobile                                                              $0.00
Texas Health Presbyterian                                             $0.00
US Dept of Education                                                  $0.00
US Dept of Education                                                  $0.00
Visa Dept Store National Bank/Macy's                                  $0.00
Webbank/Gettington                                                  $394.00

TOTAL SCHEDULED UNSECURED:                                      $36,747.97

The Debtor's(s') estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is ____________.
                                                                                                                     2%

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                   § 365 PARTY                      ASSUME/REJECT         CURE AMOUNT         TERM (APPROXIMATE)           TREATMENT
                                                                                               (MONTHS __ TO __)
T-Mobile                                            Assumed                      $1,587.00      Direct Pay

                                                      SECTION II
                                  DEBTOR'S(S') CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                  FORM REVISED 7/1/17
A.   SUBMISSION OF DISPOSABLE INCOME:
Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY PERCENTAGE FEE(S) AND
   NOTICING FEES:

The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C.
§ 586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part "B" hereof.

C. ATTORNEY FEES:

Debtor's(s') Attorney Fees totaling the amount indicated in Section I, Part C, shall be disbursed by the Trustee in the amount
shown as "Disbursed By The Trustee" pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection
Disbursements ("AAPD "), if filed.




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D.(1) PRE-PETITION MORTGAGE ARREARAGE:

The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed pre-petition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The
principal balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced
by the total adequate protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain
their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:

Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment
and Base Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

Payments received by the Trustee for payment of the Debtor's Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee's records as the date through which the Trustee made the
last Current Post-Petition Mortgage Payment.

Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her
Plan Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:
The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

Mortgage Lenders shall retain their liens.

E.(1)   SECURED CLAIMS TO BE PAID BY TRUSTEE:

The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan.
Any amount claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H
or J, per 11 U.S.C. § 506(a). Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in
11 U.S.C. § 1325(a)(5)(B)(I) and shall receive interest at the rate indicated from the date of confirmation or, if the value shown is
greater than the allowed claim amount, from the date of the Petition, up to the amount by which the claim is over-secured. The
principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate
protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)   SECURED 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN:

Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the
Petition Date secured by any other thing of value.

The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described
in Section I, Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge
under § 1328 and shall receive interest at the rate indicated from the date of confirmation. The principal balance owing upon
confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments paid to the
creditor by the Trustee.

To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the
claim direct per the contract or statute.

Each secured claim shall constitute a separate class.




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F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral , as stated in the
Plan , by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the
Collateral , to the extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per
11 U.S.C. § 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S):

Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with
the terms of their agreement or any applicable statute, unless otherwise provided in Section III, "Nonstandard Provisions."

No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

Each secured claim shall constitute a separate class.

H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

Failure to object to confirmation of this Plan shall not be deemed acceptance of the "SCHED. AMT." shown in Section I, Part H.
The claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, pro-rata, as priority claims, without
interest.

I.   CLASSIFIED UNSECURED CLAIMS:
Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED:

All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.
K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section I, Part K.

Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.
L.   CLAIMS TO BE PAID:

"TERM (APPROXIMATE)" as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both
under-secured and fully secured claims and allocated between interest and principal as to over-secured claims. Payment
pursuant to this Plan will only be made on statutory, secured, administrative, priority and unsecured claims that are allowed or,
pre-confirmation, that the Debtor(s) has/have authorized in a filed Authorization for Adequate Protection Disbursements.

M. ADDITIONAL PLAN PROVISIONS:
Any additional Plan provisions shall be set out in Section III, "Nonstandard Provisions."

N. POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:
Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the
Debtor is responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining
property insurance as required by the mortgage security agreement, paying all premiums as they become due directly to the
insurer. If the Debtor fails to make these payments, the mortgage holder may, but is not required to, pay the taxes and/or the
insurance. If the mortgage holder pays the taxes and/or insurance, the mortgage holder may file, as appropriate, a motion for
reimbursement of the amount paid as an administrative claim or a Notice of Payment Change by Mortgage Lender or a Notice of
Fees, Expenses, and Charges.

O. CLAIMS NOT FILED:

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.




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P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR
     PUNITIVE DAMAGES:

Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any
funds remaining after all other unsecured claims, including late filed claims, have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS:
Upon the filing of the Trustee's 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee's 11 U.S.C. § 1302(c)
Business Case Report shall terminate the Trustee's duties but not the Trustee's right to investigate or monitor the Debtor's(s')
business affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST-CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRE-CONFIRMATION OPERATIONS:

The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor's(s') business. Any
claims against the Trustee arising from the pre-confirmation operation of the Debtor's(s') business must be filed with the
Bankruptcy Court within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
     PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
     TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior
to discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.

Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid
post-petition liens, except those liens avoided by court order or extinguished by operation of law. In the event the Case is
converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with
applicable law. After confirmation of the Plan, the Trustee shall have no further authority, fiduciary duty or liability regarding the
use, sale, insurance of or refinance of property of the estate except to respond to any motion for the proposed use, sale, or
refinance of such property as required by the applicable laws and/or rules. Prior to any discharge or dismissal, the Debtor(s)
must seek approval of the court to purchase, sell, or refinance real property.

Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan. Upon
conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U. ORDER OF PAYMENT:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an
order confirming the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out
below, to the extent a creditor's claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below
is a level of payment. All disbursements which are in a specified monthly amount are referred to as "per mo." At the time of any
disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of payment
shall be paid any unpaid balance owed on a per mo payment plus the current per mo payment owed to that same claimant, in
full, before any disbursement to a claimant with a lower level of payment. If multiple claimants are scheduled to receive per mo
payments within the same level of payment and there are insufficient funds to make those payments in full, available funds will
be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a
lower level of payment.




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1st -- Clerk's Filing Fee and Trustee's Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will
be paid in full.

2nd -- Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must
be designated to be paid per mo.

3rd -- Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations
("DSO") in B.(3), which must be designated to be paid per mo.

4th -- Attorney Fees in C, which must be designated to be paid pro-rata.

5th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th -- Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th -- Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th -- Any Creditors listed in D.(1), if designated to be paid per mo.

9th -- Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be
designated to be paid pro-rata.

10th -- All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.
11th -- Priority Creditors Other than Domestic Support Obligations ("Priority Creditors") in H, which must be designated to be
paid pro-rata.

12th -- Special Class in I, which must be designated to be paid per mo.

13th -- Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th -- Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata,
unless other treatment is authorized by the Court.

15th -- Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.

16th -- Late filed claims by Unsecured Creditors in J, which must be designated to be paid pro-rata.

17th -- Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages,
expressly including an IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be
designated to be paid pro-rata.


V.   POST-PETITION CLAIMS:

Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W. TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE:
See the provisions of the General Order regarding this procedure.




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                                                         SECTION III
                                                   NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the
Plan is void.
None.
I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

/s/ Marcus Leinart
Marcus Leinart, Debtor's(s') Attorney                                     Debtor (if unrepresented by an attorney)


Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) is respectfully submitted.

/s/ Marcus Leinart                                                        00794156
Marcus Leinart, Debtor's(s') Counsel                                      State Bar Number




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                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor's(s') Chapter 13 Plan (Containing a Motion for Valuation) was served on
the following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the  28th day of February, 2018      :

(List each party served, specifying the name and address of each party)


Dated:           February 28, 2018                                        /s/ Marcus Leinart
                                                                          Marcus Leinart, Debtor's(s') Counsel

Acceptance Now                                    Capital One                                       Credit One Bank Na
xxxxxxxxxxxxxxxxxxxx4575                          xxxxxxxxxxxx4394                                  xxxxxxxxxxxx1628
Attn: Bankruptcy                                  Attn: Bankruptcy                                  PO Box 98873
5501 Headquarters Dr                              PO Box 30253                                      Las Vegas, NV 89193
Plano, TX 75024                                   Salt Lake City, UT 84130


Acceptance Now                                    Capital One                                       Credit Systems International, Inc
5501 Headquarters Dr                              xxxxxxxxxxxx2063                                  xxxxx4730
Plano, TX 75024                                   Attn: Bankruptcy                                  1277 Country Club Lane
                                                  PO Box 30253                                      Fort Worth, TX 76112
                                                  Salt Lake City, UT 84130


Arlington Emergency Med Assoc.                    CCS                                               Ford Motor Credit
PO Box 960260                                     Payment Processing Center                         xxxx7864
Oklahoma City, OK 73196-                          P.O. Box 55126                                    National Bankruptcy Service Center
                                                  Boston, MA 02205                                  PO Box 62180
                                                                                                    Colorado Springs, CO 80962


AT&T                                              Check N Title                                     Ford Motor Credit
PO Box 90245                                      3906 Camp Wisdom                                  xxxx7375
Arlington, TX 76004                               Dallas, TX 75237                                  National Bankruptcy Service Center
                                                                                                    PO Box 62180
                                                                                                    Colorado Springs, CO 80962


Baylor All Saints                                 Citimortgage Inc                                  Gettington.com
P.O. Box 460036                                   xxxxxx9980                                        PO Box 166
Garland, TX 75046                                 Attn: Bankruptcy                                  Newark, NJ 07101
                                                  PO Box 6423
                                                  Sioux Falls, SD 57117


Capital One                                       Comenity Bank                                     Homeq Servicing
xxxxxxxxxxxx2334                                  xxxxxxxxxxxx2233                                  xxxxxxxxx2571
Attn: Bankruptcy                                  Attn: Bankruptcy                                  Po Box 13716
PO Box 30253                                      PO Box 182125                                     Sacramento, CA 95853
Salt Lake City, UT 84130                          Columbus, OH 43218




                                                               Page 11
                                                         EXHIBIT "D"
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     Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 75 of 123 PageID 496
Case No:     17-44426-mxm-13
Debtor(s):   Kimberly Jesse Volpe


Kimberly Jesse Volpe                Regional Fin                  Synchrony Bank/Amazon
                                    xxxxxxx0901                   xxxxxxxxxxxx0710
                                    230 W. Parker Rd.             Attn: Bankruptcy
                                    Plano, TX 75075               PO Box 965060
                                                                  Orlando, FL 32896


Mohela/Dept of Ed                   Regional Finance              Synchrony Bank/Care Credit
xxxxxxxxxxxxx0001                   xxxxxxx1801                   xxxxxxxxxxxx4505
633 Spirit Dr                       1518 Pennsylvania Avenue      Attn: Bankruptcy
Chesterfield, MO 63005              Fort Worth, TX 76104          PO Box 965060
                                                                  Orlando, FL 32896


Ocwen Loan Servicing, Llc           Regional Finance              Synchrony Bank/TJX
xxxx6708                            xxxxxxx5901                   xxxxxxxxxxxx9867
Attn: Research/Bankruptcy           3917 W Camp Wisdom Rd.        Attn: Bankruptcy
1661 Worthington Rd Ste 100         Dallas, TX 75237              PO Box 965060
West Palm Bch, FL 33409                                           Orlando, FL 32896


Ocwen Loan Servicing, Llc           Regional Finance              T-Mobile
xxxxx7331                           xxxxxxx7901                   Attn: Bankruptcy
Attn: Research/Bankruptcy           PO Box 776                    PO Box 53410
1661 Worthington Rd Ste 100         Mauldin, SC 29662             Bellevue, WA 98015
West Palm Bch, FL 33409


Pam Bassel                          Regional Finance              Tarrant County Tax Assesor/Collector
7001 Blvd 26, Suite 150             xxxxxxx0101                   xxxx7874
North Richland Hills, TX 76180      3465 W. Walnut St. ste. 107   Ron Wright, CTA
                                    Garland, TX 75042             PO Box 961018
                                                                  Fort Worth, TX 76161-0018


Panhandle Plains                    Rooms To Go                   Texas Health Presbyterian
x9999                               P O Box 703                   P.O. Box 460036
PO Box 839                          Wooddale, IL 60181            Garland, TX 75046
Canyon, TX 79015



Paypal Credit Inc.                  Saxon Mortgage Service        Transformance
xxxxxxxxxxxx1311                    xxxxxx4655                    xxxx188-5
Attn: Bankruptcy Dept               Po Box 161489                 8737 King George Dr.
PO Box 5138                         Fort Worth, TX 76161          Dallas, TX 75235
Lutherville, MD 21094


Quest Diagnostics                   Six Flags Membership          US Dept of Education
500 Plaza Drive                     2201 Road To Six Flags        xxxxxxxxxxx9686
Secaucus, NJ 07094                  Arlington, TX 76010           Attn: Bankruptcy
                                                                  PO Box 16448
                                                                  Saint Paul, MN 55116




                                               Page 12
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   Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 13 of 16
     Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 76 of 123 PageID 497
Case No:     17-44426-mxm-13
Debtor(s):   Kimberly Jesse Volpe


US Dept of Education
xxxxx0821
Attn: Bankruptcy
PO Box 16448
Saint Paul, MN 55116


Visa Dept Store National Bank/Macy's
xxxxxxxx4790
Attn: Bankruptcy
PO Box 8053
Mason, OH 45040


Webbank/Gettington
xxxxxxxxxxxx9270
215 S State St
Ste 1000
Salt Lake City, UT 84111




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                                       EXHIBIT "D"
     Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 14 of 16
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 77 of 123 PageID 498
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION

  IN RE: Kimberly Jesse Volpe                                                      CASE NO.     17-44426-mxm-13
                                    Debtor


                                                                                   CHAPTER      13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on February 28, 2018, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).



                                /s/ Marcus Leinart
                                Marcus Leinart
                                Bar ID:00794156
                                Leinart Law Firm
                                11520 N. Central Expressway
                                Suite 212
                                Dallas, Texas 75243
                                (469) 232-3328



Acceptance Now                                   Attorney General of Texas                    Capital One
xxxxxxxxxxxxxxxxxxxx4575                         Collections Div/ Bankruptcy Sec              xxxxxxxxxxxx2063
Attn: Bankruptcy                                 PO Box 12548                                 Attn: Bankruptcy
5501 Headquarters Dr                             Austin, TX 78711-2548                        PO Box 30253
Plano, TX 75024                                                                               Salt Lake City, UT 84130


Acceptance Now                                   Baylor All Saints                            CCS
5501 Headquarters Dr                             P.O. Box 460036                              Payment Processing Center
Plano, TX 75024                                  Garland, TX 75046                            P.O. Box 55126
                                                                                              Boston, MA 02205



Arlington Emergency Med Assoc.                   Capital One                                  Check N Title
PO Box 960260                                    xxxxxxxxxxxx2334                             3906 Camp Wisdom
Oklahoma City, OK 73196-                         Attn: Bankruptcy                             Dallas, TX 75237
                                                 PO Box 30253
                                                 Salt Lake City, UT 84130


AT&T                                             Capital One                                  Citimortgage Inc
PO Box 90245                                     xxxxxxxxxxxx4394                             xxxxxx9980
Arlington, TX 76004                              Attn: Bankruptcy                             Attn: Bankruptcy
                                                 PO Box 30253                                 PO Box 6423
                                                 Salt Lake City, UT 84130                     Sioux Falls, SD 57117




                                                         EXHIBIT "D"
     Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 15 of 16
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 78 of 123 PageID 499
                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                              FORT WORTH DIVISION

  IN RE: Kimberly Jesse Volpe                                                          CASE NO.     17-44426-mxm-13
                                      Debtor


                                                                                   CHAPTER          13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                       (Continuation Sheet #1)

Comenity Bank                                      Homeq Servicing                                Pam Bassel
xxxxxxxxxxxx2233                                   xxxxxxxxx2571                                  7001 Blvd 26, Suite 150
Attn: Bankruptcy                                   Po Box 13716                                   North Richland Hills, TX 76180
PO Box 182125                                      Sacramento, CA 95853
Columbus, OH 43218


Comptroller of Public Accounts                     Internal Revenue Service                       Panhandle Plains
Revenue Accounting/ Bankruptcy Div                 Centralized Insolvency Operations              x9999
PO Box 13528                                       PO Box 7346                                    PO Box 839
Austin,TX 78711                                    Philadelphia, PA 19101-7346                    Canyon, TX 79015



Credit One Bank Na                                 Kimberly Jesse Volpe                           Paypal Credit Inc.
xxxxxxxxxxxx1628                                                                                  xxxxxxxxxxxx1311
PO Box 98873                                                                                      Attn: Bankruptcy Dept
Las Vegas, NV 89193                                                                               PO Box 5138
                                                                                                  Lutherville, MD 21094


Credit Systems International, Inc                  Linebarger Goggan Blair et al                  Quest Diagnostics
xxxxx4730                                          2777 N Stemmons Frwy. Ste. 1000                500 Plaza Drive
1277 Country Club Lane                             Dallas, TX 75207                               Secaucus, NJ 07094
Fort Worth, TX 76112



Ford Motor Credit                                  Mohela/Dept of Ed                              Regional Fin
xxxx7864                                           xxxxxxxxxxxxx0001                              xxxxxxx0901
National Bankruptcy Service Center                 633 Spirit Dr                                  230 W. Parker Rd.
PO Box 62180                                       Chesterfield, MO 63005                         Plano, TX 75075
Colorado Springs, CO 80962


Ford Motor Credit                                  Ocwen Loan Servicing, Llc                      Regional Finance
xxxx7375                                           xxxx6708                                       xxxxxxx1801
National Bankruptcy Service Center                 Attn: Research/Bankruptcy                      1518 Pennsylvania Avenue
PO Box 62180                                       1661 Worthington Rd Ste 100                    Fort Worth, TX 76104
Colorado Springs, CO 80962                         West Palm Bch, FL 33409


Gettington.com                                     Ocwen Loan Servicing, Llc                      Regional Finance
PO Box 166                                         xxxxx7331                                      xxxxxxx5901
Newark, NJ 07101                                   Attn: Research/Bankruptcy                      3917 W Camp Wisdom Rd.
                                                   1661 Worthington Rd Ste 100                    Dallas, TX 75237
                                                   West Palm Bch, FL 33409


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     Case 17-44426-mxm13 Doc 30 Filed 02/28/18 Entered 02/28/18 11:57:40 Page 16 of 16
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21 Page 79 of 123 PageID 500
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

  IN RE: Kimberly Jesse Volpe                                                   CASE NO.     17-44426-mxm-13
                                  Debtor


                                                                               CHAPTER       13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                   (Continuation Sheet #2)

Regional Finance                               Synchrony Bank/TJX                          United States Attorney
xxxxxxx7901                                    xxxxxxxxxxxx9867                            3rd Floor, 1100 Commerce St
PO Box 776                                     Attn: Bankruptcy                            Dallas, TX 75242
Mauldin, SC 29662                              PO Box 965060
                                               Orlando, FL 32896


Regional Finance                               T-Mobile                                    United States Trustee
xxxxxxx0101                                    Attn: Bankruptcy                            1100 Commerce St, Rm 9C60
3465 W. Walnut St. ste. 107                    PO Box 53410                                Dallas, TX 75242
Garland, TX 75042                              Bellevue, WA 98015



Rooms To Go                                    Tarrant County Tax Assesor/Collector        United States Trustee- Northern District
P O Box 703                                    xxxx7874                                    1100 Commerce St, Rm 976
Wooddale, IL 60181                             Ron Wright, CTA                             Dallas, TX 75242
                                               PO Box 961018
                                               Fort Worth, TX 76161-0018


Saxon Mortgage Service                         Texas Alcoholic Beverage Commission         US Dept of Education
xxxxxx4655                                     Licenses and Permit Division                xxxxxxxxxxx9686
Po Box 161489                                  PO Box 13127                                Attn: Bankruptcy
Fort Worth, TX 76161                           Austin,TX 78711-3127                        PO Box 16448
                                                                                           Saint Paul, MN 55116


Six Flags Membership                           Texas Health Presbyterian                   US Dept of Education
2201 Road To Six Flags                         P.O. Box 460036                             xxxxx0821
Arlington, TX 76010                            Garland, TX 75046                           Attn: Bankruptcy
                                                                                           PO Box 16448
                                                                                           Saint Paul, MN 55116


Synchrony Bank/Amazon                          Texas Workforce Commission                  Visa Dept Store National Bank/Macy's
xxxxxxxxxxxx0710                               TEC Building- Bankruptcy                    xxxxxxxx4790
Attn: Bankruptcy                               101 E 15th St                               Attn: Bankruptcy
PO Box 965060                                  Austin, TX 78778                            PO Box 8053
Orlando, FL 32896                                                                          Mason, OH 45040


Synchrony Bank/Care Credit                     Transformance                               Webbank/Gettington
xxxxxxxxxxxx4505                               xxxx188-5                                   xxxxxxxxxxxx9270
Attn: Bankruptcy                               8737 King George Dr.                        215 S State St
PO Box 965060                                  Dallas, TX 75235                            Ste 1000
Orlando, FL 32896                                                                          Salt Lake City, UT 84111


                                                       EXHIBIT "D"
3/22/2021                                                                                           TransUnion Credit Report
                  Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                                                    Page 80 of 123 PageID 501



TransUnion@)


 Personal Credit Report for Kimberly Volpe
 Report Date: 03/22/2021
 Source: TransUnion


 File Number:




                                                                                  You have been on our files since 09/01/1987
   Personal Information
  SSN: XXX-XX                                                                      Date of Birth:
       Your SSN has been masked for your
       protection.

 Names Reported:            KIM LACKEY, KIM VOLPE, KIMBERLY JESSE VOLPE and KIMBERLY VOLPE


  Addresses Reported:
 Address                                                                            Date Reported




  Telephone Numbers Reported:


  Employment Data Reported:



   Public Records
 This section includes public record items from local, state and federal courts and other public record sources that TransUnion may have obtained itself or
 through a third party vendor. In order to learn the identity of the third-party vendor (if any) that collected the public record item(s) in this section, please
 visit hllRs://www.transunion.com/legfilLRUblic-records Discharged Chapter 13 bankruptcy remains on your file for up to 7 years.



 USBK COURT NORTHERN TEXAS DOCKET#
 1744426
 501 W 10TH
 RM 147
 FORT WORTH, TX 76102
 (817) 333-6000

 Date Filed:   11/02/2017                         Type:                  CHAPTER 13 BANKRUPTCY            Court Type:             US Bankruptcy Court
 Date Paid:    12/03/2020                                                DISCHARGED                       Plaintiff Attorney:     MARCUS B LEINART
 Date Updated: 12/04/2020                         Responsibility:        Individual Debt

 Estimated month and year that this item will be removed: 10/2024




   Account Information
 Typically, creditors report any changes made to your account information monthly. This means that some accounts listed below may not
 reflect the most recent activity until the creditor's next reporting. This information may include things such as balances, payments, dates, remarks, ratings,
 etc. The key(s) below are provided to help you understand some of the account information that could be reported.

 Ratin~Y.
 Some creditors report the timeliness of your payments each month in relation to your agreement with them. The ratings in the key below describe the
 payments that may be reported by your creditors. Please note: Some but not all of these ratings may be present in your credit report.

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   Adverse Accounts
 Adverse information typically remains on your credit file for up to 7 years from the date of the delinquency. To help you understand what is generally
 considered adverse, we have added >brackets< to those items in this report. For your protection, your account numbers have been partially masked, and
 in some cases scrambled. Please note: Accounts are reported as "Current; Paid or paying as agreed" if paid within 30 days of the due date. Accounts
 reported as Current may still incur late fees or interest charges if not paid on or before the due date.




                                                                                          EXHIBIT "E"
https://annualcreditreport.transunion.com/dss/disclosure.page                                                                                                       1/18
3/22/2021                                                                            TransUnion Credit Report
                   Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                              Page 81 of 123 PageID 502




 CITIMORTGAGE INC #112274****
 5800 South Corporate Place
 SIOUX FALLS, SD 57108
 (800) 283-7918
 Date Opened:          10/06/2011                 Balance:                                       Pay Status:  >Account Included in
 Responsibility:       Individual Account         Date Updated:         02/04/2019                            Bankruptcy<
 Account Type:         Mortgage Account           Last Payment Made:    01/04/2019               Date Closed: 02/04/2019
 Loan Type:            FHA REAL ESTATE            High Balance:         $169,811
                       MORTGAGE
 Remarks: CHAPTER 13 BANKRUPTCY; Account information disputed by consumer (FCRA); TRANSFERRED TO ANOTHER LENDER; TRANSFERRED TO
 ANOTHER OFFICE
 Estimated month and year that this item will be removed: 06/2019




                                                                            EXHIBIT "E"
https://annualcreditreport.transunion.com/dss/disclosure.page                                                                               2/18
3/22/2021                                                                 TransUnion Credit Report
              Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                     Page 82 of 123 PageID 503


              01/2019    12/2018    11/2018    10/2018   09/2018   08/2018    07/2018   06/2018      05/2018   04/2018
 Rating         N/R         X          X          X         X        X           X         X           X         X


              03/2018    02/2018    01/2018    12/2017   11/2017   10/2017    09/2017   08/2017      07/2017   06/2017
 Rating          X          X          X          X         X        OK         OK         X           X         X


              05/2017    04/2017    03/2017    02/2017   01/2017   12/2016    11/2016   10/2016      09/2016   08/2016
 Rating          X          X          X          X         X        X           X         X           X         X


              07/2016    06/2016    05/2016    04/2016   03/2016   02/2016    01/2016   12/2015      11/2015   10/2015
 Rating          X          X          X         OK         OK       OK         OK        OK           OK        OK


              09/2015    08/2015    07/2015    06/2015   05/2015   04/2015    03/2015   02/2015      01/2015   12/2014
 Rating          OK        OK         OK         OK         X        OK         OK        OK           OK        OK

              11/2014    10/2014    09/2014    08/2014   07/2014   06/2014    05/2014   04/2014      03/2014   02/2014
 Rating          OK        OK         OK         OK         OK       OK         OK        OK           OK        OK

              01/2014    12/2013    11/2013    10/2013   09/2013   08/2013    07/2013   06/2013      05/2013   04/2013
 Rating          OK        OK         OK         OK         OK       OK         OK        OK           OK        OK

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 Rating          OK        OK         OK         OK         OK       OK         OK        OK           OK        OK

              05/2012    04/2012
 Rating         OK         OK




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 18ÿ78+563ÿ)86359'ÿ59ÿ72316*87ÿ78+3ÿ26872563ÿ995ÿ59 ÿ18ÿ78+563ÿ+'ÿ 2/ÿ)1598/ÿ56ÿ51861238ÿ29ÿ
9'ÿ 8 )ÿ5ÿ58 ÿ18ÿ78+ÿ)86359'ÿ26872563ÿ115ÿ3258ÿ123ÿ56786ÿ9ÿ+8ÿ68402687ÿ5ÿ)'ÿ78+5635ÿ
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     I 78+3ÿ,56ÿ 53ÿ30789ÿ593J
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          18ÿ8.89ÿ95ÿ)27ÿ29ÿ,0ÿ09786ÿ18ÿ)9J
     I 78+3ÿ1ÿ18ÿ+9(60) 'ÿ506ÿ13ÿ782787ÿ56ÿ12ÿ78278ÿ68ÿ95ÿ72316*87ÿ29ÿ123ÿ+9(60) 'ÿ38J
     I 78+3ÿ,56ÿ68320259/ÿ56ÿÿ62 29ÿ,298/ÿ29 0787ÿ29ÿÿ389898ÿ59ÿ78+5663ÿ62 29ÿ5932259J
     I 35 8ÿ78+3ÿ1121ÿ18ÿ78+563ÿ727ÿ95ÿ)65)86'ÿ23J
     I 78+3ÿ)6532787ÿ,56ÿ09786ÿ99ÿ:;2ÿ<ÿ9E>>@+A@=Aÿ97ÿ59ÿ1121ÿ18ÿ3ÿ)' 89ÿ56ÿ5186ÿ693,86ÿ23ÿ708ÿ
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     I 78+3ÿ,56ÿ8629ÿ5930 86ÿ)061383ÿ 78ÿ,86ÿ18ÿ+9(60) 'ÿ38ÿ13ÿ,287ÿ2,ÿ5+2929*ÿ18ÿ6038863ÿ
         )6256ÿ))653ÿ5,ÿ2906629*ÿ18ÿ78+ÿ13ÿ)6 2+8ÿ+0ÿ13ÿ95ÿ5+2987J
     I 78+3ÿ,56ÿ68320259/ÿ56ÿ7 *83/ÿ16787ÿ29ÿÿ232ÿ 259ÿ*293ÿ18ÿ78+56ÿ3ÿÿ6830ÿ5,ÿ 22503ÿ56ÿ
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       Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 89 of 123 PageID 510




EQ..UIFAX
CREDIT REPORT


KIMBERLY VOLPE

Report Confirmation




                                     EXHIBIT "G"
            Case 4:21-cv-00484-P Document 29 Filed 07/02/21            Page 90 of 123 PageID 511


Jan11,2021      CITIMORTGAGE                                             Account Review Inquiry




Oct 09, 2020    CITIMORTGAGE                                             Account Review Inquiry




Jul 17,2020     CITIMORTGAGE                                             Account Review Inquiry




Apr13,2020      CITIMORTGAGE                                             Account Review Inquiry




Ea._UIFAX                              KIMBERLY VOLPE I Mar 22, 2021                              Page 76 of 84



                                           EXHIBIT "G"
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        Case 4:21-cv-00484-P Document 29 Filed 07/02/21                         Page 98 of 123 PageID 519



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3/22/2021                                                          Annual Credit Report - Experian
              Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                 Page 99 of 123 PageID 520
                                                                                                                        Prepared For

                                                                                                          KIMBERLY VOLPE
                                                                                                         Personal & Confidential

                                                                                                     Date Generated   Mar 22, 2021
                                                                                                     Report Number



            Ata
            Glance                 20 Accounts                     1 Public Records                      5 Hard Inquiries



            Personal Information

                     g Names                    17 Addresses                  4   Employers             30   Other Records




            This information is reported to us by you, your creditors and/or other sources. Each source may
            report your information differently, which may result in variations of your name, address, Social
            Security number, etc. This is used for identification purposes only and does not factor into your Credit
            Score.



            Names


               KIMBERLY J                           KIM LACKEY                    KIMBERLY J                 KIMBERLY
               VOLPE                                                              LACKEY                     LACKEY




               KIM VOLPE                            KIMBERLY J                    KIMBERLY                   KIMBERLY
                                                    LACKY                         VOLPE                      JESSE VOLPE




               KIMBERLY
               LACKY




https://usa.experian.com/acr/printReport?type=CDI                EXHIBIT "J"                                                           1/43
3/22/2021                                                          Annual Credit Report - Experian
             Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                Page 100 of 123 PageID 521
                             Date                   Balance     Scheduled Payment                    Paid




                  ~




            CENLAR FEDERAL SAVINGS & LOAN


                            Account Info

                             Account Name                     CENLAR FEDERAL SAVINGS & LOAN

                             Account Number                   300476XXXXXXX

                             Account Type                     FHA Mortgage

                             Responsibility                   Individual

                             Date Opened                      10/06/2011

                             Status                           Open/Never late.

                             Status Updated                   Mar2021

                             Balance                          $138,104

                             Balance Updated                  03/05/2021

https://usa.experian.com/acr/printReport?type=CDI              EXHIBIT "J"                                               10/43
3/22/2021                                                             Annual Credit Report - Experian
             Case 4:21-cv-00484-P   Document$2,414
                       Recent Payment        29 Filed 07/02/21                                 Page 101 of 123 PageID 522

                             Monthly Payment                   $1,734

                             Original Balance                  $169,811

                             Highest Balance                   $0

                             Terms                             30 Years



                  rn        Payment History



                                 J        F         M    A       M         J        J        A          s   0    N        D
                     2021    o        0         0



                       o     Current on payments



                   ~        Balance History

                             Date               Balance             Scheduled Payment             Paid

                              Feb 2021              $139,900        $1,734                         $1,734 on 1/11/2021


                              Jan 2021              $141,016        $1,734                         $1,734 on 12/14/2020


                            Additional info

                            The original amount of this account was $169,811




                            Contact Info

                             Address          PO BOX 77404,
                                              EWING, NJ 08628

                             Phone            (855) 752-8456
                             Number




https://usa.experian.com/acr/printReport?type=CDI               EXHIBIT "J"                                                   11/43
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             Case 4:21-cv-00484-P Document 29 Filed 07/02/21                    Page 102 of 123 PageID 523

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3/22/2021                                                                                           TransUnion Credit Report
                 Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                                                    Page 103 of 123 PageID 524



TransUnion@)


 Personal Credit Report for Kimberly Volpe
 Report Date: 03/22/2021
 Source: TransUnion


 File Number:




                                                                                  You have been on our files since 09/01/1987
   Personal Information
  SSN: XXX-XX                                                                      Date of Birth:
       Your SSN has been masked for your
       protection.

 Names Reported:            KIM LACKEY, KIM VOLPE, KIMBERLY JESSE VOLPE and KIMBERLY VOLPE


  Addresses Reported:
 Address                                                                            Date Reported




  Telephone Numbers Reported:


  Employment Data Reported:



   Public Records
 This section includes public record items from local, state and federal courts and other public record sources that TransUnion may have obtained itself or
 through a third party vendor. In order to learn the identity of the third-party vendor (if any) that collected the public record item(s) in this section, please
 visit hllRs://www.transunion.com/legfilLRUblic-records Discharged Chapter 13 bankruptcy remains on your file for up to 7 years.



 USBK COURT NORTHERN TEXAS DOCKET#
 1744426
 501 W 10TH
 RM 147
 FORT WORTH, TX 76102
 (817) 333-6000

 Date Filed:   11/02/2017                         Type:                  CHAPTER 13 BANKRUPTCY            Court Type:             US Bankruptcy Court
 Date Paid:    12/03/2020                                                DISCHARGED                       Plaintiff Attorney:     MARCUS B LEINART
 Date Updated: 12/04/2020                         Responsibility:        Individual Debt

 Estimated month and year that this item will be removed: 10/2024




   Account Information
 Typically, creditors report any changes made to your account information monthly. This means that some accounts listed below may not
 reflect the most recent activity until the creditor's next reporting. This information may include things such as balances, payments, dates, remarks, ratings,
 etc. The key(s) below are provided to help you understand some of the account information that could be reported.

 Ratin~Y.
 Some creditors report the timeliness of your payments each month in relation to your agreement with them. The ratings in the key below describe the
 payments that may be reported by your creditors. Please note: Some but not all of these ratings may be present in your credit report.

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   Adverse Accounts
 Adverse information typically remains on your credit file for up to 7 years from the date of the delinquency. To help you understand what is generally
 considered adverse, we have added >brackets< to those items in this report. For your protection, your account numbers have been partially masked, and
 in some cases scrambled. Please note: Accounts are reported as "Current; Paid or paying as agreed" if paid within 30 days of the due date. Accounts
 reported as Current may still incur late fees or interest charges if not paid on or before the due date.




                                                                                         EXHIBIT "K"
https://annualcreditreport.transunion.com/dss/disclosure.page                                                                                                       1/18
3/22/2021                                                                                       TransUnion Credit Report
                   Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                                               Page 104 of 123 PageID 525




   Satisfactory Accounts
 The following accounts are reported with no adverse information. For your protection, your account numbers have been partially masked, and in some
 cases scrambled. Please note: Accounts are reported as "Current; Paid or paying as agreed" if paid within 30 days of the due date. Accounts reported as
 Current may still incur late fees or interest charges if not paid on or before the due date.



 CENLAR MTG #300476856****
 PO BOX 77404
 EWING, NJ 08628
 (855) 839-6253
 Date Opened:             10/06/2011                     Date Updated:            03/05/2021                  Pay Status:        Current Account
 Responsibility:          Individual Account             Payment Received:        $2,414                      Terms:             $1,734 per month, paid
 Account Type:            Mortgage Account               Last Payment Made:       03/01/2021                                     Monthly for 360 months
 Loan Type:              FHA REAL ESTATE
                         MORTGAGE
 High Balance: High balance of $169,811 from 01/2021 to 03/2021


                   03/2021        02/2021        01/2021        12/2020   11/2020       10/2020       09/2020          08/2020      07/2020      06/2020
 Balance            $138,104        $139,900       $141,016
 Scheduled
                      $1,734          $1,734         $1,734
 Payment
 Amount Paid          $2,414          $1,734         $1,734
 Past Due                    $0             $0             $0
 Rating              OK             OK              OK             X          X             X             X              X              X            X


                   05/2020        04/2020        03/2020        02/2020   01/2020       12/2019      11/2019        10/2019         09/2019      08/2019
 Rating               X              X              X              X          X            X             X               X              X            X


                   07/2019        06/2019        05/2019        04/2019   03/2019      02/2019
 Rating              X               X              X             X           X            X




                                                                                      EXHIBIT "K"
https://annualcreditreport.transunion.com/dss/disclosure.page                                                                                                 7/18
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               Case 4:21-cv-00484-P Document 29 Filed 07/02/21                                                           Page 105 of 123 PageID 526




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    Case 4:21-cv-00484-P Document 29 Filed 07/02/21   Page 106 of 123 PageID 527




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                                   EXHIBIT "L"
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21                              Page 107 of 123 PageID 528




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                                                        EXHIBIT "L"
      Case 4:21-cv-00484-P Document 29 Filed 07/02/21                      Page 108 of 123 PageID 529



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                                                EXHIBIT "L"
       Case 4:21-cv-00484-P Document 29 Filed 07/02/21                         Page 109 of 123 PageID 530



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A/37:ÿ=@3=ÿ=@/ÿB<A;37Cÿ29:=/>ÿ4/B/9H/>ÿC<14ÿB4/>9=ÿ97D<4A3=9<7ÿ<7ÿ=@/ÿ>3=/:ÿ:;/B9D9/>GÿE@/:/ÿ9781949/:ÿ?922ÿ4/A397ÿ<7ÿC<14
B4/>9=ÿD92/ÿD<4ÿ1;ÿ=<ÿIÿC/34:Gÿ
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  a9ID:ACÿ0C72                             ÿQ2A6:;;:?<2ÿQDA75;2
  a9>:B:>D8<                                bUOca0ÿ0UdNVdb0aPN
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  no epqi oÿr, f e,fh
  J548=:59                                 ÿU2ID2;=2>ÿP9                              ÿQ1592
  QPÿsPWÿRXKYÿ                              ]K\KK\KLKL                                 ^RLL_ÿmKM`KmKX
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012ÿ456789:2;ÿ<:;=2>ÿ?2<5@ÿA242:B2>ÿC5DAÿ9862Eÿ8>>A2;;ÿ89>ÿ5=12Aÿ<:6:=2>ÿ:9F5A68=:59ÿ8?5D=ÿC5Dÿ;5ÿ=12Cÿ45D<>ÿ68G2ÿ8ÿF:A6
5FF2Aÿ5Fÿ4A2>:=ÿ5Aÿ:9;DA8942Hÿ012Cÿ>:>ÿ95=ÿA242:B2ÿC5DAÿFD<<ÿ4A2>:=ÿA275A=Hÿ012;2ÿ:9ID:A:2;ÿ8A2ÿ95=ÿ;229ÿ?Cÿ89C592ÿ?D=ÿC5Dÿ89>ÿ>5
95=ÿ8FF24=ÿC5DAÿ;45A2Hÿ




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